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              EXHIBIT 1
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                                            HHD-CV24-
 Superior Court Case Look-up                                      STATE OF CONNECTICUT v. EIDP, INC. Et Al
                                          6179556-S
  Civil/Family
  Housing                                 Prefix: HD6             Case Type: M90          File Date: 01/25/2024          Return Date: 03/05/2024
  Small Claims                            Case Detail Notices History Scheduled Court Dates E-Services Login Screen Section Help
 -
 Attorney/Firm Juris Number Look-up                                         To receive an email when there is activity on this case, click here.
 -
 Case Look-up
  By Party Name
  By Docket Number
  By Attorney/Firm Juris Number            Information Updated as of: 02/21/2024
  By Property Address
                                                                                          Case Information
 -
 Short Calendar Look-up                                  Case Type: M90 - Misc - All other
  By Court Location                                 Court Location: HARTFORD JD
  By Attorney/Firm Juris Number                            List Type: No List Type
  Motion to Seal or Close
                                                    Trial List Claim:
  Calendar Notices
 -                                                                     02/05/2024 (The "last action date" is the date the information was entered in
                                                   Last Action Date:
 Court Events Look-up                                                 the system)
  By Date
  By Docket Number                                                                    Disposition Information
  By Attorney/Firm Juris Number
 -                                                 Disposition Date:
 Legal Notices                                         Disposition:
 -
 Pending Foreclosure Sales                     Judge or Magistrate:
 -
 Understanding
                                                                                  Party & Appearance Information
 Display of Case Information
 -                                                                                                                                         No
 Contact Us                                Party                                                                                           Fee Category
                                                                                                                                          Party
                                           P-01 STATE OF CONNECTICUT                                                                         Y     Plaintiff
                                                Attorney:   CHRISTOPHER PATRICK KELLY (444375) File Date: 01/25/2024
                                                          AG-ENVIRONMENT
                                                          165 CAPITOL AVE 5TH FLR
                                                          HARTFORD , CT 06106
                                                Attorney:   JULIA ROSE SUESSER (445210)        File Date: 02/05/2024
               Comments                                   AG-ENVIRONMENT
                                                          165 CAPITOL AVE 5TH FLR
                                                          HARTFORD , CT 06106
                                           D-01 EIDP, INC.                                                                                        Defendant
                                                Non-Appearing
                                           D-02 THE CHEMOURS COMPANY                                                                              Defendant
                                                Non-Appearing
                                           D-03 THE CHEMOURS COMPANY FC, LLC                                                                      Defendant
                                                Non-Appearing
                                           D-04 DUPONT DE NEMOURS, INC.                                                                           Defendant
                                                Non-Appearing
                                           D-05 CORTEVA, INC.                                                                                     Defendant
                                                Non-Appearing
                                           D-06 3M COMPANY                                                                                        Defendant
                                                Non-Appearing


                                            Viewing Documents on Civil, Housing and Small Claims Cases:

                                            If there is an   in front of the docket number at the top of this page, then the file is electronic
                                            (paperless).


                                                    Documents, court orders and judicial notices in electronic (paperless) civil, housing and small
                                                    claims cases with a return date on or after January 1, 2014 are available publicly over the
                                                    internet.* For more information on what you can view in all cases, view the Electronic Access
                                                    to Court Documents Quick Card.


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=HHDCV246179556S                                                                      1/3
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                                                                  Case Detail Filed 02/22/24                      Page 3 of 103
                                                    For civil cases filed prior to 2014, court orders and judicial notices that are electronic are
                                                    available publicly over the internet. Orders can be viewed by selecting the link to the order
                                                    from the list below. Notices can be viewed by clicking the Notices tab above and selecting
                                                    the link.*

                                                    Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at
                                                    any judicial district courthouse during normal business hours.*

                                                    Pleadings or other documents that are not electronic (paperless) can be viewed only during
                                                    normal business hours at the Clerk’s Office in the Judicial District where the case is located.*

                                                    An Affidavit of Debt is not available publicly over the internet on small claims cases filed
                                                    before October 16, 2017.*

                                            *Any documents protected by law Or by court order that are Not open to the public cannot be viewed
                                            by the public online And can only be viewed in person at the clerk’s office where the file is located by
                                            those authorized by law or court order to see them.

                                                                        Motions / Pleadings / Documents / Case Status
                                           Entry                 Filed
                                                    File Date          Description                                                                 Arguable
                                           No                     By
                                                    02/05/2024       P APPEARANCE
                                                                        Appearance
                                           100.30 01/25/2024         P SUMMONS                                                                       No

                                           100.31 01/25/2024         P COMPLAINT                                                                     No

                                           100.32 01/25/2024         P CONTINUATION OF PARTIES                                                       No

                                           100.33 01/25/2024         P RETURN OF SERVICE                                                             No


                                                                            Scheduled Court Dates as of 02/20/2024
                                                             HHD-CV24-6179556-S - STATE OF CONNECTICUT v. EIDP, INC. Et Al
                                             #     Date          Time            Event Description                                      Status
                                                                                 No Events Scheduled


                                           Judicial ADR events may be heard in a court that is different from the court where the case is
                                           filed. To check location information about an ADR event, select the Notices tab on the top of the
                                           case detail page.

                                           Matters that appear on the Short Calendar are shown as scheduled court events on this page.
                                           The date displayed on this page is the date of the calendar.

                                           The status of a Short Calendar matter is not displayed because it is determined by markings
                                           made by the parties as required by the calendar notices and the civil standing orders. Markings
                                           made electronically can be viewed by those who have electronic access through the Markings
                                           History link on the Civil/Family Menu in E-Services. Markings made by telephone can only be
                                           obtained through the clerk’s office. If more than one motion is on a single short calendar, the
                                           calendar will be listed once on this page. You can see more information on matters appearing on
                                           Short Calendars by going to the Civil/Family Case Look-Up page and Short Calendars By Juris
                                           Number or By Court Location .

                                          Periodic changes to terminology that do not affect the status of the case may be made.

                                          This list does not constitute or replace official notice of scheduled court events.

                                          Disclaimer: For civil and family cases statewide, case information is displayed and is available
                                          for inquiry on this website for a period of time, one year to a maximum period of ten years, after
                                          the disposition date. To the extent that Connecticut Practice Book Sections 7-10 and 7-11 provide
                                          for a shorter period of time, this information will be displayed for the shorter period.

                                          In accordance with the Federal Violence Against Women Act of 2005, cases involving relief from
                                          physical abuse (restraining order­s), civil protection orders, foreign protective orders, and motions
                                          that would be likely to publicly reveal the identity or location of a protected party may not be
                                          displayed and may be available only at the courts.



https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=HHDCV246179556S                                                                 2/3
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                                          Attorneys | Case Look-up | Courts | Directories | EducationalResources | E-Services | FAQ's | Juror Information | News & Updates
                                                                                     | Opinions | Opportunities | Self-Help | Home

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SUMMONS - CIVIL                                                                       For information on                                  STATE OF CONNECTICUT
JD-CV-1 Rev. 2-22                                                                     ADA accommodations,                                        SUPERIOR COURT
C.G.S . §§ 51 -346 , 51 -347, 51-349 , 51-350, 52-45a, 52-48 , 52-259;                contact a court clerk or
P B§§ 3-1 through 3-21 , 8-1, 10-13                                                                                                                            www.jud.ct.gov
                                                                                      go to: www.jud.ct.gov/ADA.
Instructions are on page 2.
D Select if amount, legal interest, or property in demand , not including interest and costs , is LESS than $2 ,500 .
[El Select if amount, legal interest, or property in demand, not including interest and costs, is $2,500 or MORE.
[El Select if claiming other relief in addition to, or in place of, money or damages.
TO: Any proper officer
By authority of the State of Connecticut, you are hereby commanded to make due and legal service of this summons and attached complaint
Address of court clerk (Number, street, town and zip code)                                                 Tel ephone number of clerk                   Return Date (Mu st be a Tuesday)
95 Washington Street, Hartford 06106                                                                       ( 860 ) 548 - 2700                           03/05/2024
[R] Judicial District   GA                                At (City/Town)                                                                      Case type code (See list on page 2)

D Housing Session D Number                                    Hartford                                                                         Major M                  Minor 90
For the plaintiff(s) enter the appearance of:
Name and address of attorney, law firm or plaintiff if self-represented (Number, street, town and zip code)                                       Juris number (if attorney or law firm)

William M. Tong, AG, Office of the Attorney General, 165 Capitol Avenue, Hartford, CT 06106                                                        440323
Telephone number                              Signature of plaintiff (if self-represented)
( 860 ) 808 - 5280
The attorney or law firm appearing for the plaintiff, or the plaintiff if                                         E-mail address for del ivery of papers un der Section 10-13 of the
                                                                                                                  Connecticut Practice Book (if agreed)
self-represented, agrees to accept papers (service) electronically
in this case under Section 10-13 of the Connecticut Practice Book.                      [El Yes       D No        christopher.kelly@ct.gov

       Parties             Name (Last, First, Middle Initial) and address of each party (Number; street; P.O. Box; town; state; zip; country, if not USA)
     First            Name:       State of Connecticut
                                                                                                                                                                                           P-01
    plaintiff         Address:    Office of the Attorney General, 165 Capitol Avenue, Hartford, CT 06106
  Additional          Name:
                                                                                                                                                                                           P-02
   plaintiff          Address:

    First             Name:       EIDP, Inc.
                                                                                                                                                                                           D-01
  defendant           Address : 974 Centre Rd, Wilmington, DE 19805

  Additional          Name:                                   Agent for Service: CT Corporation System, 67 Burnside Ave, East Hartford, CT 06108 0 _02
  defendant           Address:

  Additional          Name:       The Chemours Company
                                                                                                                                      D-03
  defendant           Address:    1007 Market Street, Wilmington, DE 19801
  Additional          Name:                        Agent for Service: CT Corporation System, 67 Burnside Ave, East Hartford, CT 06108
                                                                                                                                      D-04
  defendant           Address :

Total number of plaintiffs: 1                             J   Total number of defendants: 6                               J   [El Form JD-CV-2 attached for additional parties
Notice to each defendant
   You are being sued . This is a summons in a lawsuit The complaint attached states the claims the plaintiff is making against you .
2. To receive further notices, you or your attorney must file an Appearance (form JD-CL-12 ) with the clerk at the address above . Generally ,
   it must be filed on or before the second day after the Return Date . The Return Date is not a hearing date. You do not have to come to
   court on the Return Date unless you receive a separate notice telling you to appear.
3. If you or your attorney do not file an Appearance on time, a default judgment may be entered against you. You can get an Appearance
   form at the court address above, or on-line at https //jud .ctgov/webforms/.
4. If you believe that you have insurance that may cover the claim being made against you in this lawsuit, you should immediately contact
   your insurance representative . Other actions you may take are described in the Connecticut Practice Book, whi ch may be found in a
   superior court law library or on-line at https //www.jud ctgov/pb.htm .
5. If you have questions about the summons and complaint, you should talk to an attorney
   The court staff is ot allow        • gi               le
Date                                                                                            [EJ Commissioner of Superior Court      Name of person sign ing
 01/23/2024
                                                                                                □                              Clerk    William M. Tong
If this summons is signed by a Clerk                                                                                                                           For Court Use Only
                                                                                                                                                   File Date
a. The signing has been done so that the plain ff(s) will not be denied access to the courts.
b. It is the responsibility of the plaintiff(s) to ensure that service is made in the manner provided by law.
c. The court staff is not permitted to give any legal advice in connection with any lawsuit
d. The Clerk signing this summons at the request of the plaintiff(s) is not responsible in any way for any
     errors or omissions in the summons , any allegations contained in the complaint, or the service of the
     summons or complaint
I certify I have read and           Signed (Self-represented plaintiff)                                                 Date                       Docket Number

understand the above
                                                                                             Page 1 of 2
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RETURN DATE: MARCH 5, 2024                                     SUPERIOR COURT

STATE OF CONNECTICUT                                           JUDICIAL DISTRICT
                                                               OF HARTFORD
v.

EIDP, INC.; DUPONT DE NEMOURS,                                 AT HARTFORD
INC.; THE CHEMOURS COMPANY; THE
CHEMOURS COMPANY FC, LLC;
CORTEVA, INC.; and 3M COMPANY                                  JANUARY 23, 2024


                                            COMPLAINT

           The State of Connecticut, by its Attorney General William Tong, brings this action to

obtain injunctive, monetary, and other equitable relief, and complains and alleges as follows:



I.         NATURE OF THE ACTION

     1.       The State of Connecticut brings this action against the above-named Defendants to

protect and restore lands, waters, and wildlife, among other natural resources and property,

which are contaminated with toxic chemicals known as per- and polyfluoroalkyl substances

(“PFAS”).

     2.       Defendants are among the world’s largest chemical manufacturers and have been the

primary historical manufacturers of PFAS and PFAS-containing chemicals and related products

(herein collectively referred to as “PFAS Products”) since the 1940s.

     3.       Defendants’ PFAS Products have been used in Connecticut and throughout the

country in industrial processes and in consumer products. PFAS are typically added to make

products, including those under Defendants’ brand names Teflon and Scotchgard, resistant to

stains, water, and heat. Among the items where Defendants’ PFAS Products have been widely

used are food packaging, cookware, carpeting, upholstery, clothing, and cosmetics.
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   4.       PFAS do not exist naturally in the environment. They are synthetic chemicals which

enter the environment through the normal and foreseeable disposal of consumer and commercial

products and from industrial releases into the air, water, and soil.

   5.       PFAS do not break down in the environment. Once released into the world, PFAS

will migrate through the environment and accumulate in living organisms.

   6.       Due to their longevity in the environment, PFAS are known as “Forever Chemicals.”

   7.       PFAS are toxic at extremely low concentrations. Scientific studies have linked the

accumulation of PFAS in humans with harmful – and potentially lethal – conditions, including

cancer and liver disease, as well as with adverse effects on pregnancies and child development.

   8.       The manufacturers of PFAS Products have known about the harmful and persistent

characteristics of PFAS for decades, but concealed material information about these

characteristics to preserve their product lines.

   9.       As early as the 1950s, substantial resources were devoted to toxicity testing on

numerous animal species, which demonstrated incredibly dangerous impacts upon an array of

mammals, birds, and fish. Human health studies demonstrated significantly increased cancer

risks from PFAS exposure, as well as increased occurrence of birth defects and other health

impacts. Defendants shared with each other their research and serious safety concerns but not

with the public, even as they continued to produce these toxins.

   10.      Defendants developed extensive research programs to study their chemicals and

determined that their PFAS Products were polluting drinking water supplies, groundwater,

surface waterbodies, soils, sediments, and wildlife.

   11.      Since the 1970s, these manufacturers have also known that there is a “universal

presence” of their PFAS in human blood.




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   12.     Despite legal obligations to report their knowledge, these risks were concealed from

regulators and the public for decades.

   13.     The Environmental Protection Agency (“EPA”) only learned in 1998 that PFAS was

in the blood of the general human population. Under pressure from the EPA, one Defendant, the

3M Company, then produced over 1,200 studies it had withheld from regulators for decades.

   14.     With utter disregard for human health and the environment, Defendants had

concealed their knowledge about these harmful chemicals from regulators and deceived their

customers. Even after the EPA was alerted to the PFAS threat, manufacturers of PFAS Products

labored to undermine regulatory efforts and scientific inquiry.

   15.     Defendants concealed critical information in order to perpetuate their toxic trade,

delaying any regulatory response to the PFAS threat for decades. As scientific awareness of the

dangers of PFAS have grown, recent investigations have revealed widespread PFAS

contamination across Connecticut, including in waterways and drinking water wells.

   16.     The State, as parens patriae and trustee of natural resources, has an obligation to

protect its citizens and environment from the ongoing PFAS threat and to restore Connecticut’s

environment for the benefit of future generations.

   17.     Connecticut state agencies estimate that the State and its taxpayers will likely need to

expend billions of dollars to mitigate PFAS contamination, remediate Connecticut’s natural

resources and property, and ensure the health and safety of Connecticut’s residents.

   18.     The State is not seeking to recover through this Complaint any relief for

contamination or injury related to Aqueous Film Forming Foam, a firefighting material that

contains PFAS which the State is addressing through a separate legal action to hold these and

other defendants accountable.




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II.         THE PARTIES

      A.      The Plaintiff

      19.     The State of Connecticut brings this action by and through William Tong, Attorney

General of the State of Connecticut, with his principal office at 165 Capitol Avenue, Hartford,

Connecticut 06106.

      20.     The State of Connecticut is a sovereign state and brings this action in its capacity as

sovereign, on behalf of its commissioners and agencies, as trustee of State natural resources and

owner of substantial interests in property contaminated and injured by Defendants, and pursuant

to its parens patriae authority on behalf of the citizens of Connecticut.

      21.     This action is brought at the request of and pursuant to the authority granted to the

Governor of the State of Connecticut, Ned Lamont, by Conn. Gen. Stat. § 3-5, as well as, by

Connecticut common law, Conn. Gen. Stat. §§ 3-125, 22a-16, 22a-416 to 22a-599, 42-110m, and

52-552 to 52-552l. The State brings this action based upon its statutory enforcement authority to

protect State natural resources and substantial interests in property and its common law police

power. This power includes its authority to prevent pollution of the State’s natural resources and

State property, to prevent nuisances, to protect consumers and ensure fair trade practices, and to

prevent and abate hazards to public health, safety, welfare, and the environment.

      22.     The State of Connecticut brings this action to obtain injunctive, monetary, and other

equitable relief. The State of Connecticut seeks to prevent continued violations of law and duties

by Defendants, to compel investigation and remediation of environmental pollution, to obtain

civil penalties for Defendants’ violations of law, and to recover actual and punitive damages.

These damages include, without limitation, past and future expenditures to identify and respond




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to PFAS contamination of natural resources and property, including treating, monitoring, and

remediating drinking water, as well as natural resource damages.

   23.        In this Complaint, the term “State’s natural resources and property” refers to all

natural resources or property for which the State of Connecticut seeks damages, including

without limitation fish, wildlife, biota, air, surface water, groundwater, wetlands, drinking water

supplies, soil, sediment, public lands the State holds in trust, and where the State is an owner of

substantial interests in property.

   B.         The Defendants

   24.        Defendants at all times relevant to this Complaint were and are designers,

manufacturers, marketers, distributors, and/or sellers of PFAS Products. The following

Defendants, at times relevant to this Complaint, designed, manufactured, marketed, distributed,

and/or otherwise sold (directly or indirectly) PFAS Products that each such Defendant knew or

should have known would be delivered into areas affecting the State’s natural resources and

property.

         1.      DuPont Defendants

   25.        This Complaint refers to EIDP, Inc., DuPont de Nemours, Inc., The Chemours

Company, The Chemours Company FC, LLC, and Corteva, Inc., collectively, as the “DuPont

Defendants.”

   26.        Defendant EIDP, Inc. (“Old DuPont”), formerly known as E.I. du Pont de Nemours

and Company, is a Delaware corporation with its principal place of business at 974 Centre Road,

Wilmington, Delaware 19805. Old Dupont has designed, manufactured, marketed, distributed,

and/or sold PFAS Products throughout the United States. Since at least the 1940s, Old DuPont

sold its trademarked PFAS Product “Teflon” for industrial uses and, since at least the 1960s, for




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use in consumer products. As alleged herein, Old DuPont engaged in a multi-year scheme to

insulate its assets and defraud its creditors. Old DuPont is registered to do business in

Connecticut.

    27.     Defendant DuPont de Nemours, Inc. (“New DuPont”), formerly known as

DowDuPont, Inc., is a Delaware corporation with its principal place of business at 974 Centre

Road, Wilmington, Delaware 19805. In 2015, after Old DuPont spun off The Chemours

Company, Old DuPont and The Dow Chemical Company (“Old Dow”) merged as subsidiaries of

a newly created entity, DowDuPont, Inc. Subsequently, DowDuPont, Inc. spun off both Corteva,

Inc. and Dow, Inc. (“New Dow”) and transferred Old DuPont’s historical assets and liabilities,

retaining the specialty products business. In connection with these transfers, the surviving entity

of the spin-offs, now known as DuPont de Nemours, Inc., assumed certain Old DuPont assets

and liabilities, which likely includes business lines and liabilities relating to the design,

manufacture, marketing, distribution, and/or sale of PFAS Products. New DuPont does business

throughout the United States.

    28.     Defendant The Chemours Company (“Chemours”) is a Delaware corporation with

its principal place of business at 1007 Market Street, Wilmington, Delaware 19801. In 2015, Old

DuPont spun off Chemours as an independent company, along with Old DuPont’s performance

chemicals business and vast environmental liabilities, including those related to PFAS.

Chemours has designed, manufactured, marketed, distributed, and/or sold PFAS Products

throughout the United States. Chemours is registered to do business in Connecticut.

    29.     Defendant The Chemours Company FC, LLC (“Chemours FC”) is a Delaware

corporation with its principal place of business at 1007 Market Street, Wilmington, Delaware




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19801. Chemours FC operates as a subsidiary of Chemours and manufactures fluoropolymer

resins. Chemours FC is registered to do business in Connecticut.

       30.        Defendant Corteva, Inc. (“Corteva”) is a Delaware corporation with its principal

place of business at 974 Centre Road, Wilmington, Delaware 19805. In 2019, New DuPont spun

off its agricultural business as a new, publicly traded company, Corteva, which currently holds

Old DuPont as a subsidiary. In connection with these transfers, Corteva assumed certain Old

DuPont assets and liabilities, which likely includes business lines and liabilities relating to the

design, manufacture, marketing, distribution, and/or sale of PFAS Products. Corteva is registered

to do business in Connecticut.

             2.      3M Company

       31.        Defendant 3M Company (“3M”), formerly known as Minnesota Mining and

Manufacturing Company, is a Delaware corporation with its principal place of business at 3M

Center, St. Paul, Minnesota 55144. Since at least the 1950s, 3M has designed, manufactured,

marketed, distributed, and/or sold PFAS Products throughout the United States. Beginning in

1956, 3M sold many of those PFAS Products under the brand name “Scotchgard.” 3M is

registered to do business in Connecticut.

       32.        The Court has jurisdiction over Defendants under Connecticut’s corporate long-arm

statute, Conn. Gen. Stat. § 33-929, and individual long-arm statute, Conn. Gen. Stat. § 52-59b,

owing to Defendants’ transaction of business, tortious conduct, and injuries inflicted in the State.

III.         FACTUAL ALLEGATIONS

       A.         PFAS Products Harm the Environment, Animals, and Human Health

       33.        PFAS are a group of thousands of human-made chemical compounds containing

bonds of fluorine and carbon atoms. The fluorine-carbon bond is one of the strongest bonds in




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chemistry. Due to their unique chemical structure, PFAS are extremely stable and repel oil,

grease, water, and heat. They do not naturally occur in the environment.

   34.     For purposes of this Complaint, “PFAS” includes, but is not limited to, the following

ten PFAS compounds, including their precursors, acids, salts, ionic forms, and byproducts, for

which the Connecticut Department of Public Health (“CT DPH”) has developed drinking water

“Action Levels” for specified concentrations:

           a.     PFOS (Perfluorooctanesulfonic acid)

           b.     PFOA (Perfluorooctanoic acid)

           c.     6:2 Cl-PFESA (6:2 chloropolyfluoroether sulfonic acid)

           d.     8:2 Cl-PFESA (8:2 chloropolyfluoroether sulfonic acid)

           e.     HFPO-DA (also known as GenX) (Hexafluoropropylene oxide dimer acid)

           f.     PFBS (Perfluorobutanesulfonic acid)

           g.     PFBA (perfluorobutanoic acid)

           h.     PFHxS (Perfluorohexanesulfonic acid)

           i.     PFHxA (Perfluorohexanoic acid)

           j.     PFNA (Perfluorononanoic acid)

   35.     The unique chemical structure of PFAS make them (1) persistent, (2) mobile, (3)

bioaccumulative and biomagnifying, and (4) toxic.

   36.     PFAS are extremely persistent. PFAS do not break down or biodegrade in the

environment or in living organisms. Once released into the environment, they will endure

indefinitely until they are consumed by living organisms or are contained and removed. This

extreme persistence has given them the nickname “Forever Chemicals.”




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   37.     PFAS are highly mobile. They easily dissolve and spread through water. Once

released into the environment, they can migrate long distances through a variety of media,

including surface water, groundwater, soils, sediment, and air. Due to the mobility and

persistence of PFAS, even releases of modest quantities can cause significant pollution of State

natural resources and property.

   38.     PFAS bioaccumulate in humans and in wildlife such as fish. PFAS are purged from

individual organisms very slowly – over many years for humans and other large organisms –

which leads to a buildup of PFAS within the body, even when exposure continues at extremely

low levels. Thus, PFAS also can biomagnify, meaning that their concentration in organic tissue

increases as they are consumed up the food chain.

   39.     As humans are exposed to PFAS, whether through consumption of contaminated food

or water, inhalation of contaminated air, or absorption through skin, the concentration of PFAS

in their blood and organs increases.

   40.     According to the CDC, the elimination half-lives of PFOA and PFOS, or the length of

time for the concentration of those substances in the human body to decrease by one-half, are

estimated to be 3.5 years and 4.8 years, respectively. For comparison, the half-lives of arsenic,

lead (in human blood), and radioactive polonium are ten hours, thirty-two days, and forty days.

   41.     PFAS also spread through humans and other mammals by crossing the placenta from

mother to fetus and by passing to infants through breast milk.

   42.     PFAS are toxic and cause significant adverse effects to human and animal health.

Toxicology and human epidemiology studies by independent researchers, as well as decades of

studies and lab animal testing by the Defendants, have demonstrated the unreasonable risk to

human and animal health from PFAS.




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    43.      Federal government agencies, including the Center for Disease Control’s Agency for

Toxic Substances and Disease Registry, have concluded there are adverse human health effects

associated with PFAS exposure, including kidney and testicular cancer; liver damage or changes

in liver function; delayed growth and development (including decreased infant birth weight);

decreased vaccine response; and increased cholesterol.

    44.      Additional adverse human health effects associated with PFAS exposure include, but

are not limited to, cancers of the liver, breasts, pancreas, and prostate; diabetes; fatty liver

disease; adverse pregnancy outcomes; and infertility.

    45.      Contamination from PFAS is a serious threat to human health and the environment,

including to the State’s natural resources and property.

    46.      The presence of these chemicals in drinking water presents a serious threat to public

health.

    47.      Removal of PFAS from drinking water sources requires specialized and expensive

drinking water treatment systems. Additionally, once PFAS are removed from drinking water

through filtration media, they must be disposed of in a safe manner, which is costly and creates

new risks.

    48.      Known pathways for PFAS to enter the environment include releases to air, waters,

and soil from industrial processes and sites and through the normal and foreseeable use and

disposal of consumer, household, and commercial products containing PFAS.

    49.      Once released into the environment, PFAS resist natural degradation, migrate through

and contaminate State natural resources and property, harm human and animal life, and are

difficult and costly to remove.




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   B.         The State is Uncovering and Responding to PFAS Contamination in Connecticut

         1.      Federal Investigations and Changing Regulations Have Brought Attention to
                 PFAS

   50.        Federal and state regulators began to learn of the substantial risks associated with

PFAS exposure in the late 1990s, when the EPA received disclosures about two types of PFAS –

PFOS and PFOA – and subsequently filed enforcement actions under the Toxic Substances

Control Act (TSCA).

   51.        Section 8(e) of TSCA requires chemical manufacturers and distributors to

immediately notify the EPA if they have information that “reasonably supports the conclusion

that such substance or mixture presents a substantial risk of injury to health or the environment.”

TSCA § 8(e), 15 U.S.C. § 2607(e). This reporting requirement has been included in TSCA since

its enactment in 1976. See Pub. L. 94-469, Title I, § 8, Oct. 11, 1976, 90 Stat. 2027.

   52.        In December 2005, the EPA reached a settlement with Old DuPont related to

violations of TSCA for concealing the environmental and health effects of PFOA. The settlement

included the largest civil administrative penalty the EPA had ever obtained under any

environmental statute, $10.25 million, and further required Old DuPont to perform Supplemental

Environmental Projects worth $6.25 million.

   53.        In April 2006, 3M agreed to pay the EPA a penalty of more than $1.5 million after

being cited for 244 violations of TSCA, which included violations dating back decades for

failing to disclose studies regarding PFOS, PFOA, and other fluorinated compounds.

   54.        Concurrently with those enforcement actions, EPA sought to phase out the production

of PFOS and PFOA. As the only known manufacturer of PFOS in the United States, 3M’s

phaseout of PFOS ceased all known domestic PFOS manufacturing. In 2006, EPA launched the

PFOA Stewardship Program to coordinate the phaseout of intentional domestic PFOA



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production by 2015, which the participants reported to have been achieved. The eight

participating companies were Arkema, Asahi, BASF, Clariant, Daikin, 3M/Dyneon, Old DuPont,

and Solvay Solexis.

   55.     Since EPA learned of the substantial risks associated with PFAS exposure through its

investigations and Defendants’ overdue disclosures, it has recognized the threat presented to

human health and the environment and has proposed regulations with considerable implications

for State regulators and their drinking water providers.

   56.     In 2016, the EPA established a health advisory level (“HAL”) for combined PFOS

and PFOA in drinking water at seventy parts per trillion (ppt). In June 2022, the EPA lowered the

HALs for PFOA and PFOS to .004 ppt and .02 ppt, respectively. One ppt is analogous to one

drop in twenty Olympic-sized swimming pools. In setting these new interim HALs, the EPA

relied on “data and draft analyses that indicate that the levels at which negative health effects

could occur are much lower than previously understood when the agency issued its 2016 health

advisories for PFOA and PFOS.”

   57.     In March 2023, the EPA proposed a new National Primary Drinking Water

Regulation for six PFAS, including PFOA, PFOS, PFNA, HFPO-DA/GenX, PFHxS, and PFBS.

The regulation establishes legally enforceable levels, called Maximum Contaminant Levels

(MCLs), for the six aforementioned PFAS, as well as health-based, non-enforceable Maximum

Contaminant Level Goals (MCLGs). If promulgated, water providers and their state regulators

will be required to monitor for these PFAS, notify the public of the levels of these PFAS, and

reduce the levels of these PFAS in drinking water if they exceed the proposed MCL standards.

   58.     The proposed regulation would set the MCLs for PFOA and PFOS in drinking water

at 4.0 ppt, which is the lowest concentration that can be reliably quantified within specific limits




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of precision and accuracy during routine laboratory operating conditions. The proposed

regulation would set the MCLGs for PFOA and PFOS at zero because the EPA has determined

that the chemicals “are likely to cause cancer (e.g., kidney and liver cancer) and that there is no

dose below which either chemical is considered safe.”

   59.        Currently, the EPA is monitoring twenty-nine PFAS compounds under the fifth

Unregulated Contaminant Monitoring Rule (UCMR 5). The UCMR 5 requires drinking water

systems across the country to collect samples between 2023 and 2025 to test for the presence of

twenty-nine PFAS (and lithium). The UCMR 5 requires monitoring of the contaminants from

Public Water Systems (“PWS”) that serve at least 3,300 people, as well as a randomly selected

sampling of smaller PWS.

   60.        In September 2022, the EPA also initiated a proposed rulemaking to designate PFOA

and PFOS as hazardous substances under the Comprehensive Environmental Response,

Compensation, and Liability Act (“CERCLA”). In support of this rulemaking, the EPA stated

that “evidence indicates that these chemicals may present substantial danger to public health or

welfare or the environment when released into the environment.” Once promulgated, States and

publicly owned treatment works (“POTWs”) will be responsible for monitoring and treating

PFAS in wastewater, controlling the discharge of PFAS, and monitoring, treating, and managing

the disposal of PFAS-contaminated biosolids.

         2.      PFAS Investigations and Response Measures Are Underway in Connecticut

   61.        As a consequence of the Defendants’ design, manufacturing, marketing, distribution,

and sale of PFAS Products, the natural resources and lands of the State of Connecticut are

contaminated with PFAS.




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   62.     In July 2019, Governor Ned Lamont established the Interagency PFAS Task Force,

led by the Connecticut Department of Energy and Environmental Protection (“CT DEEP”) and

CT DPH, to develop a statewide PFAS strategy across eighteen State agencies and entities. The

PFAS Action Plan, released on November 1, 2019, recommended thirty-four agency actions

across four strategic focus areas: (1) protecting human health; (2) pollution prevention; (3)

remediation; and (4) education, outreach, and communication. State agencies and other entities

are uncovering the breadth of the State’s toxic contamination by sampling environmental media,

testing drinking water sources, and investigating sites of likely PFAS discharge.

   63.     Two years later, the Connecticut General Assembly passed Public Act 21-191, which

banned the sale of food packaging containing intentionally added PFAS as of December 31,

2023.

   64.     The State has expended substantial resources to uncover and address the extensive

PFAS contamination in Connecticut, including millions of dollars of state bond funds, clean

water and drinking water loan funds, and brownfield grants. New staff have been hired to

perform PFAS analysis and the CT DPH Laboratory has been outfitted with analytical equipment

to perform testing, for example, of drinking water samples.

   65.     Connecticut agencies developed PFAS testing programs as early as 2013, with the

advent of the Unregulated Contaminant Monitoring Rule 3. As the primacy agency with

responsibility for implementing the Safe Drinking Water Act, CT DPH is tasked with regulating

nearly 2,400 public water systems serving over 2.7 million residents.

   66.     Beginning in 2018, CT DPH established a drinking water Action Level – the

concentration of a contaminant at which CT DPH recommends action be taken to reduce health

risks – for a sum of five PFAS compounds. Based on evolving science and updated research, CT




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DPH established individual Action Levels for four PFAS (PFOA, PFOS, PFNA, PFHxS) in June

2022 and for another six PFAS (GenX, PFHxA, PFBS, PFBA, 6:2 Cl-PFESA, 8:2 Cl-PFESA) in

June 2023. The ten PFAS compounds for which Action Levels were established are among the

most widely studied PFAS that have also been detected in human blood more frequently and at

higher concentrations than other PFAS. With the establishment of Action Levels, CT DPH

mandated PFAS testing for all new wells and recommended testing for all PWS.

   67.     Building on past testing requirements and voluntary testing, testing of drinking water

sources is ongoing under the UCMR 5 regime with support from CT DPH. The first quarterly

results were released in August 2023. Of the Connecticut PWS that reported results for the first

quarter disclosure, fourteen water sources operated by nine PWS reported detections of various

PFAS compounds, with detection levels as high as 44.3 ppt.

   68.     State agencies have also lent technical assistance and engaged in private well

sampling in communities known to be affected by PFAS contamination from nearby sources.

Connecticut has over 320,000 private residential wells serving more than 820,000 residents.

Because PFAS does not biodegrade, CT DEEP expects private wells polluted with PFAS may

require treatment in perpetuity, unless active remedial measures are implemented to isolate or

remove the source of PFAS pollution to groundwater. During the State’s PFAS investigations

conducted to date, contaminated private wells have been found in the vicinity of PFAS sources,

and additional contaminated wells are expected to be identified as environmental investigations

of known or presumed PFAS sources continue.

   69.     Site investigations are ongoing among the thousands of identified sites in Connecticut

suspected of being contaminated with PFAS.




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   70.     Among those sites of known or suspected contamination are five closed landfills

managed by the State. Bond funds have been allocated to address identified PFAS contamination

associated with landfills in Hartford and Ellington, while testing is underway at landfills in

Shelton, Wallingford, and Waterbury.

   71.     In addition to its site investigations, the State has retained experts to conduct

environmental contamination studies.

   72.     In 2021, CT DEEP retained consultants to characterize PFAS levels in environmental

media entering and discharging from POTWs in Connecticut. The study tested influent, effluent,

and sludge from thirty-five POTWs. Additionally, incinerator sludge and incinerator scrubber

water samples were collected from four biosolid incinerators, and surface water and fish tissue

samples were collected near ten POTWs. The data collected indicated PFAS were present in all

samples analyzed. Of the thirty-four individual PFAS tested, twenty-nine were detected in at

least one sample. The identified PFAS included all PFAS compounds for which CT DPH has

enacted drinking water Action Levels. The data on PFAS concentrations in fish tissue prompted

CT DEEP and CT DPH to issue a consumption advisory for specific sections of the Hockanum

River.

   73.     Defendants’ acts and omissions have caused or contributed to PFAS contamination in

Connecticut. Defendants failed to disclose to their customers and the users of PFAS Products the

environmental and health risks of PFAS that were known or should have been known to them,

resulting in the release and proliferation of PFAS. As a result, the risks associated with PFAS

were unknown to the users of PFAS Products; were unknown to the State; and were generally

unknown to those other than Defendants who could have reduced or limited the PFAS

contamination and injury described above. As designers, manufacturers, marketers, distributors,




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and sellers of PFAS Products, Defendants were in the best position to mitigate the risk of harm

of their products.

   74.     As a consequence of Defendants’ acts and omissions, the State is expending

substantial resources to identify, contain, remediate, or otherwise mitigate the effects of PFAS

contamination across Connecticut.

   C.      There is Widespread PFAS Contamination of Connecticut’s Natural Resources

   75.     PFAS contamination from Defendants’ PFAS Products has injured and continues to

injure the natural resources and property of the State and the property, health, safety, and welfare

of Connecticut’s citizens.

   76.     Since 1971, the State of Connecticut has declared that “[t]he air, water, land and other

natural resources, taken for granted since the settlement of the state, are now recognized as finite

and precious” and that it is the policy of the State “to manage the basic resources of air, land and

water to the end that the state may fulfill its responsibility as trustee of the environment for the

present and future generations.” Conn. Gen. Stat. § 22a-1.

   77.     It is the policy of the State of Connecticut that “carefully selected areas of land and

water of outstanding scientific, educational, biological, geological, paleontological or scenic

value be preserved.” Conn. Gen. Stat. § 23-5a.

   78.     It is also the policy of the State of Connecticut that “there is a public trust in the air,

water and other natural resources of the state of Connecticut and that each person is entitled to

the protection, preservation and enhancement of the same.” Conn. Gen. Stat. § 22a-15.

   79.     The State owns lands throughout Connecticut that it maintains for the benefit of the

public, such as State Forests, State Parks, and wildlife management areas.




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    80.     The State holds its natural resources in trust for the State’s citizens and has an

obligation to protect public interests in these resources through, among other things, maintaining

the environmental quality of its air, lands, and waters. The State’s natural resources include,

without limitation, its air; its waters, such as groundwater, springs, streams, wetlands, ocean

waters, and estuaries; certain lands and the resources found on them, such as forests and the trees

within; and its wildlife, such as birds and fish, within its boundaries or otherwise subject to its

jurisdiction.

    81.     PFAS attributable to Defendants’ PFAS Products have been found in groundwater,

surface water, sediments, soils, and biota in the State where PFAS Products were used, stored,

disposed of, or otherwise discharged. Furthermore, the State anticipates that additional

contamination of natural resources from PFAS attributable to Defendants’ PFAS Products will

be uncovered as its investigation continues.

    82.     Contamination from PFAS Products persists in the State’s natural resources, damages

their intrinsic value, and impairs the public benefits derived from access to, use, and enjoyment

of the State’s natural resources.

    83.     The current and future residents of the State have a substantial interest in natural

resources free of PFAS contamination, as do the tourism, recreation, fishing, and other industries

that rely on maintaining a clean and safe environment for their businesses, patrons, and tourists

to visit and enjoy.

    84.     Defendants’ PFAS Products are major sources of PFAS contamination in

Connecticut. Numerous locations in Connecticut are known to be contaminated and injured by

Defendants’ PFAS Products, including locations in the vicinity of landfills, POTWs, and

operating or closed manufacturing facilities.




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   85.        Releases of PFAS directly to soil or water allow PFAS to spread through the

environment. PFAS on contaminated sites, such as those named above, have migrated between

soils, groundwater, and surface water, which threaten human health and contaminate the

sediments and biota found within those environments. A healthy and functioning ecosystem

depends upon the interplay between non-impaired waters, soils, sediments, and wildlife.

         1.      Groundwater

   86.        Groundwater is a precious, limited, and invaluable natural resource that is used for

drinking water, irrigation, and other important purposes.

   87.        A majority of Connecticut residents rely on groundwater for drinking water, including

the twenty-three percent of residents who rely solely on private residential wells.

   88.        The people of Connecticut also use groundwater to irrigate agricultural crops and to

provide drinking water to animals raised for human consumption in the State.

   89.        PFAS attributable to Defendants’ PFAS Products have contaminated and injured the

State’s groundwater in locations throughout the State, including, for example, at the closed

landfills in Hartford and Ellington.

   90.        PFAS attributable to Defendants’ PFAS Products have contaminated and injured

drinking water that is drawn from groundwater sources in locations throughout the State,

including, for example, in public water systems in Manchester and Norwalk.

   91.        Defendants have caused PFAS contamination of groundwater at these and a myriad of

other locations in Connecticut by designing, manufacturing, marketing, distributing, and/or

selling PFAS Products – all while knowingly concealing and misrepresenting the dangers posed

by those products to groundwater.




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   92.        Ongoing additional testing continues to reveal further PFAS contamination and injury

of groundwater in locations throughout Connecticut.

   93.        It is virtually certain that additional testing will reveal further PFAS contamination

and injury of groundwater in locations throughout Connecticut.

         2.        Surface Waters

   94.        Surface waters are precious, limited, and invaluable State natural resources that are

used for drinking water, recreation, fishing, and ecological and other important purposes.

   95.        Connecticut has 618 miles of shoreline on the Long Island Sound. The State contains

6,000 miles of streams and rivers, and over 2,000 lakes and reservoirs.

   96.        Surface waters are sources of drinking water. Approximately seventy-six percent of

Connecticut’s population is served by water systems with the capability to supply both ground

and surface water supplies – twenty-one percent of large water systems in Connecticut rely

exclusively on surface supplies.

   97.        Connecticut’s surface waterbodies are central to its economic wellbeing. The State’s

tourism and recreation industries are dependent upon clean water that is safe for recreation and

capable of supporting aquatic life, including a recreational boating sector worth $3.6 billion each

year and a sportfishing sector worth over $650 million each year.

   98.        Significant releases of PFAS have created ecological and public health crises in

Connecticut rivers.

   99.        Defendants’ PFAS Products have contaminated Connecticut surface waterbodies in

the vicinity of POTWs and other release sites, including, but not limited to, the following

waterbodies, each of which has tested and detected PFAS compounds:

              a.      Connecticut River, Hartford




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             b.      Farmington River, Farmington and Windsor

             c.      Hockanum River, Vernon

             d.      Naugatuck River, Beacon Falls

             e.      Pequabuck River, Bristol

             f.      Quinnipiac River, Wallingford

             g.      Scantic River, Somers

    100.     Ongoing additional testing continues to reveal further PFAS contamination and injury

of surface waters in locations throughout Connecticut.

    101.     It is virtually certain that additional testing will reveal further PFAS contamination

and injury of surface waters in locations throughout Connecticut.

        3.        Fish and Wildlife

    102.     The State’s biota – including both flora and fauna – are critical ecological resources.

Wildlife, including birds and fish, are held in trust by the State for the benefit of its citizens.

    103.     The State’s biodiversity provides a wealth of ecological, social, and economic goods

and services that are an integral part of cultural and economic activity in Connecticut. Hunting,

fishing, and wildlife watching, for example, generate hundreds of millions of dollars each year

through tourism and recreation. Connecticut’s fish, marine resources, and wild game also

provide important sources of food.

    104.     Injuries to Connecticut’s biota impact not only the individual species, but also the

entire ecosystem of which they are a part.

    105.     The State has identified PFAS compounds attributable to the Defendants’ PFAS

Products in its public trust fish. Since 2016, Connecticut state agencies have tested finfish tissue

for the presence of PFAS.




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   106.    PFAS attributable to Defendants’ PFAS Products have contaminated and injured fish

in waterbodies across Connecticut, leading CT DPH to issue consumption advisories against

consuming fish caught in certain waterbodies. Those advisories recommend limiting

consumption of these fish to one meal per month or warn against any consumption at all.

   107.    For example, solely in response to detected PFOS levels, CT DPH has issued

consumption advisories concerning fish caught throughout or in portions of the following rivers:

           a.     Connecticut River

           b.     Farmington River

           c.     Hockanum River

           d.     Housatonic River

           e.     Natchaug River

           f.     Naugatuck River

           g.     Pequabuck River

           h.     Quinnipiac River

           i.     Scantic River

           j.     Shetucket River

           k.     Still River

           l.     Tankerhoosen River

           m.     Willimantic River

   108.    Connecticut state agencies, including the Department of Agriculture and the

University of Connecticut, are also investigating PFAS contamination of shellfish beds in Long

Island Sound.




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   109.      Connecticut state agencies have expended substantial resources to conduct PFAS

testing in finfish and shellfish. This testing will need to continue to update fish consumption

guidance.

   110.      In addition to fish testing, Connecticut state agencies are also preparing to test raptor

blood and tissue, including those of bald eagles, for PFAS and other compounds.

   111.      Ongoing additional testing continues to reveal further PFAS contamination and injury

of wildlife in locations throughout Connecticut.

   112.      It is virtually certain that additional testing will reveal further PFAS contamination

and injury of wildlife in locations throughout Connecticut.

   D.        The Defendants Knew or Should Have Known of the Dangers of PFAS

        1.      3M Has Known for Decades of Health and Environmental Risks from PFAS

   113.      3M was the largest manufacturer of PFAS chemicals in the United States from the

1940s through the early 2000s.

   114.      3M manufactured PFAS by electrochemical fluorination beginning in the 1940s.

   115.      3M was the only known manufacturer of PFOS and PFHxS in the United States.

   116.      3M knew for decades that its PFAS Products were toxic and would adversely affect

the environment and human health.

   117.      3M began testing the physiological and toxicological properties of PFAS compounds

as early as 1950. Based on these internal studies, 3M knew that PFOA and PFOS were harmful

to humans and the environment as early as the 1950s.

   118.      In 1950, 3M documented that PFAS accumulate in the blood of mice when exposed

to the chemicals in laboratory tests.




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   119.    By 1956, studies showed that 3M’s PFAS were found to bind to proteins in human

blood, resulting in bioaccumulation of those compounds in the human body.

   120.    By 1960, 3M knew that its waste PFAS could leach into groundwater and otherwise

enter the environment. An internal 3M memorandum from 1960 described 3M’s understanding

that such wastes “[would] eventually reach the water table and pollute domestic wells.” Later

that year, 3M confirmed that PFAS had already polluted the wells.

   121.    As early as 1963, 3M knew that its PFAS were highly stable in the environment and

did not degrade after disposal. A 1963 3M report described PFAS as being stable in the

environment and “completely resistant to biological attack.” The same report also confirmed that

3M knew the chemicals to be “toxic.”

   122.    By the mid-1960s, it already considered PFAS to be “toxic” and persistent and it

understood the propensity of these chemicals to spread and pollute the environment. 3M chose to

withhold its knowledge from its customers and the public, even as its knowledge of the dangers

of PFAS continued to grow.

   123.    By the 1970s, 3M researchers had documented PFAS in fish and were aware that its

PFAS Products were hazardous to marine life.

   124.    In 1970, outside researchers conducted toxicity testing of 3M’s Light Water line of

PFAS-containing firefighting foam and found it to be "highly derogatory to marine life and the

entire test program had to be abandoned to avoid severe local stream pollution."

   125.    In 1972, toxicity tests conducted with 3M's Light Water foam on bluegill, grass

shrimp, fiddler crab, and mummichog further confirmed PFAS's toxicity. After exposure to a

33.4 mg/l concentration of Light Water foam, 100 percent of bluegills died.




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   126.    By the 1970s, 3M was concerned about the risks posed to the general population by

exposure to its fluorochemicals.

   127.    In 1975, 3M learned there was a “universal presence” of PFAS in human blood

samples taken from across the United States. After reporting organic fluorine compounds in

blood bank samples taken from around the United States at levels corresponding to

approximately forty-five ppb, one of the researchers who made this discovery contacted the

company to see if it knew of “possible sources” of the chemicals, inquiring about consumer

products like Teflon and Scotchgard. 3M’s scientists concluded internally that the fluorine

compounds resembled 3M’s own PFAS, but “plead ignorance” to the researcher, misled him by

“advis[ing] him that ‘Scotchgard’ was a polymeric material not a [fluorochemical],” and did not

share this information outside the company.

   128.    In 1976, 3M began monitoring the blood of its employees for the presence of PFAS

because the company was concerned about potential health effects. For example, workers at

3M’s Chemolite plant in Cottage Grove, Minnesota, were found in June 1976 to have blood

PFAS levels at “1,000 times normal.”

   129.    During the late 1970s, 3M’s internal studies continued to demonstrate the

environmental persistence and severe toxicity of the company’s chemicals.

   130.    In 1978, a 3M study warned that PFAS “are likely to persist in the environment for

extended periods” and that they were “shown to be completely resistant to biodegradation.”

   131.    In 1978, 3M conducted multiple PFOS and PFOA studies in monkeys and rats. The

studies showed that PFOS and PFOA affected the liver and gastrointestinal tract of the species

tested. Results of a ninety-day animal study conducted by 3M in 1978 indicated that PFAS

“should be regarded as toxic.”




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    132.     In 1978, 3M had to abort a study when all of the test monkeys died within the first

few days or weeks after being given food contaminated with PFOS. The deaths were attributed to

the “compound effect” of the chemical.

    133.     In 1979, an internal 3M report discussing the studies on PFOS and PFOA toxicity to

animals stated that the compounds were “more toxic than anticipated” and recommended that

“lifetime rodent studies should be undertaken as soon as possible.”

    134.     In 1979, a 3M study reported that one of 3M’s fluorosurfactants was found to be

completely resistant to biological test conditions and that it appeared waterways were the

“environmental sink” for the fluorosurfactants.

    135.     In 1979, 3M studies documented PFAS in fish taken from the Tennessee River in the

proximity of 3M’s plant in Decatur, Alabama, with the “definite conclusion” that PFAS “do

appear to bioaccumulate in river fish under natural conditions.”

    136.     With mounting evidence that its PFAS were toxic, persistent, and mobile in the

environment, concerns were growing internally at 3M about the possible risks to its employees.

    137.     A 1979 memo from an employee in 3M’s medical department concluded that it was

“paramount to begin now an assessment of the potential (if any) of long term (carcinogenic)

effects for these compounds which are known to persist for a long time in the body and thereby

give long term chronic exposure.” That same year, an outside researcher recommended

additional testing and told 3M that reducing employees’ exposure to PFAS “should have top

priority.”

    138.     By 1979, Old DuPont and 3M were sharing research on the effects of PFAS to

determine the risk to their employees.




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   139.     In 1981, 3M moved twenty-five female employees “of childbearing potential” off

production lines at its Decatur, Alabama plant “[a]s a precautionary measure.” This was based on

internal research showing that PFAS compounds were causing birth defects in rats.

   140.     In 1983, 3M Environmental Laboratory scientists advocated for funding to perform

an ecological risk assessment of fluorochemicals and argued that concerns about PFAS give rise

to “legitimate questions about the persistence, accumulation potential, and ecotoxicity of

fluorochemicals in the environment.” No testing was authorized in response to the proposed

plan.

   141.     In 1984, 3M’s internal analyses documented increasing levels of fluorochemicals in

3M workers, concluding that potential uptake of fluorochemicals was exceeding excretion

capabilities of the body. The bioaccumulation of fluorochemicals in 3M’s employees was

occurring despite the protective measures already taken.

   142.     In 1987, 3M shared with Old DuPont the results of a two-year study where rats were

fed a diet with added fluorochemicals, resulting in the growth of cancerous tumors. The data

from the study spurred subsequent discussions where Old DuPont scientists questioned whether

they were required to label the fluorochemicals as carcinogens in animals. Old DuPont would

perform its own follow-up study and summarized the results in a TSCA 8(e) letter to the EPA,

which was also sent to 3M.

   143.     In 1989, a review of mortality data among 3M’s chemical division workers found,

compared to Minnesota death rates, a “statistically significant excess” of deaths by “cancer of the

digestive organs and peritoneum.”




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   144.    In 1996, 3M employees visited Washington Works in Parkersburg, West Virginia for

discussions with Old DuPont about finding replacements for their fluorochemicals. At a prior

meeting in May 1995, the companies had set a goal of finding a replacement by 2000.

   145.    In 1998, a 3M environmental specialist prepared an ecological risk assessment which

evaluated whether PFOS concentrations accumulating up the food chain were similar to

concentrations that cause adverse effects, determining that ambient environmental levels of

PFOS posed a substantial risk to marine mammals.

   146.    By the late 1990s, 3M’s own toxicologist had calculated a “safe” level for PFOS in

human blood to be 1.05 ppb, at a time when 3M was well aware that the average level of PFOS

found in the blood of the general population of the United States was approximately thirty times

higher than this “safe” blood level. 3M did not disclose this information for more than two

decades.

   147.    Despite decades of knowledge about the ubiquity and toxicity of its PFAS, 3M only

shared its concerns with EPA beginning in May 1998, with the submission of a TSCA 8(e) letter

for PFOS. However, that submission downplayed concerns about the environmental impacts of

PFAS, as described by a 3M employee:

   Just before that submission we found PFOS in the blood of eaglets – eaglets still young
   enough that their only food consisted of fish caught in remote lakes by their parents. This
   finding indicates a widespread environmental contamination and food chain transfer and
   probably bioaccumulation and bio-magnification. This is a very significant finding that
   the 8e reporting rule was created to collect. 3M chose to report simply that PFOS had
   been found in the blood of animals, which is true but omits the most significant
   information.

   148.    The same 3M employee, environmental specialist Dr. Rich Purdy, in his resignation

letter in 1999 called PFOS “the most insidious pollutant since PCB [polychlorinated biphenyl]. It

is probably more damaging than PCB because it does not degrade, whereas PCB does; it is more




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toxic to wildlife; and its sink in the environment appears to be biota and not soil and sediment, as

is the case with PCB.” Dr. Purdy sent his resignation letter to the EPA, effectively blowing the

whistle on 3M’s harmful and illegal activities.

   149.     In 2000, under pressure from the EPA, 3M announced that it would phase out

production of PFOS, PFOA, and certain related products. The press release stated that “our

products are safe” and cited the company’s “principles of responsible environmental

management” as the reason to cease production.

   150.     The same day as 3M’s announcement, the EPA issued a press release about 3M’s

phaseout stating “3M data supplied to EPA indicated that these chemicals are very persistent in

the environment, have a strong tendency to accumulate in human and animal tissues and could

potentially pose a risk to human health and the environment over the long term.”

   151.     In 2006, EPA cited 3M for 244 violations of the Toxic Substances Control Act,

accusing 3M of failing to notify the agency about new chemicals and of late reporting of

“substantial risk information.” 3M was fined $1.52 million for these violations.

       2.      DuPont Defendants Have Known for Decades of PFAS’s Health and
               Environmental Risks

   152.     In the 1950s, Old DuPont began using PFOA and other PFAS in its specialty

chemical applications, including household products like Teflon, and supplied PFAS Products to

third parties for use in manufacturing.

   153.     Old DuPont quickly thereafter developed an understanding of the dangers of using

these chemicals. Rather than warn the public or its consumers about these risks, Old DuPont

covered up this information and promoted its PFAS-related products as safe.

   154.     During this time, Old DuPont was aware that PFOA was toxic to animals and humans

and that it bioaccumulates and persists in the environment. Old DuPont also knew that the PFAS



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present in Teflon and its other specialty chemical products would proliferate and contaminate the

environment. Old DuPont was further aware that industrial facilities related to products like

Teflon emitted and discharged PFOA and other PFAS into the environment in large quantities

and that scores of people had been exposed to its PFAS, including via public and private

drinking water supplies.

   155.    In approximately 1951, Old DuPont started using PFOA in making Teflon for

industrial uses at its Washington Works manufacturing plant in Parkersburg, West Virginia. As

early as 1954, employees at Old DuPont’s Washington Works plant reported that PFOA might

be toxic. In 1961, seven years later, Teflon-coated consumer products hit the marketplace.

   156.    By 1961, Old DuPont scientists were issuing internal warnings about the toxicity

associated with PFOA, after testing with PFOA led to enlarged livers – “the most sensitive sign

of toxicity” – in rats, rabbits, and dogs. Old DuPont’s Toxicology Section Chief cautioned that

such products should be “handled with extreme care” and that contact with the skin should be

“strictly avoided.”

   157.    In 1964, a group of Old DuPont employees working in Teflon manufacturing became

sick after their department was moved to a more enclosed workspace. They experienced chills,

fever, difficulty breathing, and a tightness in the chest – symptoms referred to variously as

“polymer-fume fever,” “Teflon flu,” or simply, “the shakes.” Polymer-fume fever was first

reported in the medical literature in 1951.

   158.    In 1965, Old DuPont sponsored a study where rats were fed a PFAS compound over a

ninety-day period. Necropsies revealed discoloration of the liver, increased liver and kidney

weight, and increased spleen size.

   159.    As early as 1966, Old DuPont was aware that PFOA could leach into groundwater.




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   160.     In 1970, an internal memo stated that Old DuPont’s internal laboratory had found

PFOA to be “highly toxic when inhaled and moderately toxic when injected.”

   161.     In 1973, Old DuPont scientists issued results from a study showing that PFOA caused

adverse liver reactions in rats and dogs.

   162.     In 1975, Old DuPont toxicologists met with 3M employees to discuss the possible

toxic effects of PFAS in food products. 3M provided Old DuPont with the results of its toxicity

testing on rats and the companies discussed continued sharing of research.

   163.     By 1976, Old DuPont knew about research showing detections of organic fluorine in

blood bank samples in the United States, which the researchers believed could be a potential

result of human exposure to PFAS.

   164.     In 1978, based on information it received from 3M about elevated and persistent

organic fluorine levels in workers exposed to PFAS, Old DuPont initiated a plan to review and

monitor the health conditions of potentially exposed workers in order to assess whether any

negative health effects were attributable to PFOA exposure. This monitoring plan involved

obtaining blood samples from the workers and analyzing the samples for the presence of

fluorine.

   165.     In 1979, Old DuPont scientists issued an internal summary of PFOA toxicity testing

conducted on various animal species; PFAS-exposed rats showed liver enlargement at low doses,

and some were observed to have “corneal opacity and ulceration” that remained for up to forty-

two days after. The scientists reported these chemicals to be “highly toxic when inhaled.” The

chemical was also administered in a single dose of 450 mg to two dogs, who died within two

days after ingestion and who showed increased plasma enzyme levels “indicative of cellular

damage.”




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   166.       By 1979, Old DuPont had data indicating that, not only was organic fluorine/PFAS

building up in the blood of its exposed workers, but those workers exposed to PFAS had a

significantly higher incidence of health issues than did unexposed workers.

   167.       In 1980, Old DuPont internally confirmed, but did not make public, that PFOA “is

toxic,” that “people accumulate [PFOA]” in their tissues, and that “continued exposure is not

tolerable.”

   168.       By the 1980s, Old DuPont not only knew that PFAS accumulated in humans, but it

was also aware that PFAS could cross the placenta from an exposed woman to her fetus. Old

DuPont concealed its knowledge of the connection between PFAS and birth defects and chose to

mislead its employees about the risks they faced.

   169.       By 1981, Old DuPont had obtained a 3M internal study that documented birth defects

in the eyes of unborn rats exposed to PFAS in utero and urged female workers who came into

contact with PFAS to consult their doctors “prior to contemplating pregnancy.”

Contemporaneously with 3M, Old DuPont reassigned “female employees of childbearing

capability” from jobs where they would be in direct contact with PFAS.

   170.       In 1981, Old DuPont began secretly monitoring female employees who had been

exposed to PFOA and conducted blood sampling of those who were pregnant or recently

pregnant. Of the eight women who gave birth during this time period, two of the eight gave birth

to children with birth defects in their eyes or face, and a third child had PFOA in the umbilical

cord. As Old DuPont’s medical director Bruce Karrh explained in a memo, this monitoring was

undertaken to “answer a single question – does [PFOA] cause abnormal children?” The results of

the research were described as “statistically significant.” Old DuPont abandoned the study

without informing regulators or employees.




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   171.    The observations in the pregnancy monitoring were consistent with 3M’s rat study,

and in March 1981 Old DuPont had a pathologist and a birth defects expert review the 3M study.

They concluded that “the study was valid” and that “the observed fetal eye defects were due to

[PFOA].”

   172.    Later in 1981, Old DuPont informed their employees “based on our review of the

results of the further studies, it does not seem that the observed effects on the eyes of the unborn

rats were due to [PFOA].”

   173.    Old DuPont reported to EPA in March 1982 that results from a rat study showed

PFOA crossing the placenta if present in maternal blood, but Old DuPont concealed its data

confirming the transplacental movement of PFOA in humans.

   174.    In 1982, Old DuPont’s medical director warned in a confidential memo about

employees being exposed to potentially dangerous levels of PFOA. He recommended that

“available practical steps be taken to reduce this exposure.”

   175.    In addition to its knowledge of PFOA’s toxicity dating back to the 1960s, Old DuPont

was also aware that PFAS were capable of contaminating the surrounding environment, leading

to human exposure. In 1984, Old DuPont secretly sent employees to obtain drinking water

samples from surrounding communities. The results showed that PFOA released from its

manufacturing operations was contaminating local drinking water supplies in Lubeck, West

Virginia and Little Hocking, Ohio, but Old DuPont said nothing to regulators or the affected

communities.

   176.    In 1984, after obtaining data on these releases and the consequent contamination near

Old DuPont’s Washington Works plant in West Virginia, Old DuPont held an internal meeting at

its corporate headquarters in Wilmington, Delaware to discuss health and environmental issues




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related to PFOA. Old DuPont’s management was concerned about “[PFOA] exposures off plant

as well as to our customers and the communities in which they operate.” Old DuPont employees

in attendance spoke of the PFOA issue as “one of corporate image, and corporate liability.” They

were resigned to Old DuPont’s “incremental liability from this point on if we do nothing”

because Old DuPont was “already liable for the past 32 years of operation.” They also stated that

the “legal and medical [departments within Old DuPont] will most likely take a position of total

elimination” of PFOA use in Old DuPont’s business and that these departments had “no

incentive to take any other position.”

   177.    Nevertheless, Old DuPont not only decided to keep using and releasing PFOA, but

affirmatively misrepresented to regulators, the scientific community, and the public that its

PFOA releases presented no risks to human health or the environment. Old DuPont continued to

use PFOA for almost thirty years after the meeting.

   178.    In an October 20, 1986, memorandum, an Old DuPont employee stated that Old

DuPont’s management in Wilmington, Delaware, was “concerned about the possible liability

resulting from long-term [PFOA] exposure to our employees and to the population in the

surrounding communities and those downriver from the [Washington Works] plant.”

   179.    In 1988, Old DuPont began treating PFOA internally as a possible human carcinogen.

   180.    In 1999, Old DuPont received preliminary results from a study showing that PFOA

caused monkeys to lose weight and increased their liver size. Even monkeys given the lowest

doses suffered liver enlargement, and one became so ill it had to be euthanized.

   181.    After being sued by a West Virginia farmer in 1999, an internal Old DuPont

memorandum regarding its litigation strategy shows that Old DuPont sought to “not create [the]




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impression that DuPont did harm to the environment” and wanted to “keep [the] issue out of the

press as much as possible.”

   182.    In 2000, John R. Bowman, an in-house counsel for PFOA issues, wrote an email to

several colleagues: “I think we need to make more of an effort to get [Old DuPont] to look into

what we can do to get the Lubeck community a clean source of water or filter the [PFOA] out of

the water.” He continued:

   I think we are more vulnerable than the MTBE defendants [manufacturers of another
   notorious groundwater contaminant, MTBE] because many states have adopted a
   drinking water guideline for MTBE and it is not biopersistent. My gut tells me the
   biopersistence issue will kill us because of an overwhelming public attitude that anything
   biopersistent is harmful.

   We are going to spend millions to defend these lawsuits and have the additional threat of
   punitive damages hanging over our head. Getting out in front and acting responsibly can
   undercut and reduce the potential for punitives. [Bernard Reilly, another DuPont
   attorney] and I have been unsuccessful in even engaging the clients in any meaningful
   discussion of the subject. Our story is not a good one, we continued to increase our
   emissions into the river in spite of internal commitments to reduce or eliminate the
   release of this chemical into the community and the environment because of our concern
   about the bio-persistence of this chemical.

   183.    In a 2001 email, in-house lawyer Bernard Reilly described Old DuPont’s response to

the [PFOA] issue as “a debacle at best.” Reflecting on a late 2001 meeting with EPA concerning

PFAS contamination in Parkersburg, West Virginia, Mr. Reilly wrote, “[t]he business did not

want to deal with this issue in the 1990s, and now it is in their face, and some still are clueless.

Very poor leadership, the worst I have seen in the face of a serious issue since I have been with

DuPont.”

   184.    Notwithstanding its internal knowledge of PFOA’s health and environmental risks

from as early as the 1950s, Old DuPont publicly stated in 2003 that “[w]e are confident that there

are no health effects associated with [PFOA] exposure,” and that “[PFOA] is not a human health

issue.”



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   185.     Old DuPont’s own Epidemiology Review Board (“ERB”) repeatedly raised concerns

about Old DuPont’s statements to the public that there were no adverse health effects associated

with human exposure to PFOA. An ERB member called such statements “[s]omewhere between

misleading and disingenuous.” For example, in February 2006, the ERB “strongly advise[d]

against any public statements asserting that PFOA does not pose any risk to health” and

questioned “the evidential basis of [Old DuPont’s] public expression asserting, with what

appears to be great confidence, that PFOA does not pose a risk to health.”

   186.     In October 2006, contrary to ERB’s advice, Old DuPont’s chief medical officer

issued a press release stating that “there are no health effects known to be caused by PFOA.” An

ERB member criticized the press release because it “appear[ed] written to leave the impression

‘don’t worry.’”

   187.     In 2004, EPA filed an administrative enforcement action against Old DuPont for its

failure to disclose toxicity and exposure information for PFOA, in violation of TSCA and the

Resource Conservation and Recovery Act (“RCRA”). Old DuPont eventually settled the lawsuit

by agreeing to pay over $16 million in civil administrative penalties and undertake supplemental

environmental projects. EPA called the settlement the “largest civil administrative penalty EPA

has ever obtained under any federal environmental statute.”

   188.     At about the time this penalty was issued, Old DuPont was making approximately $1

billion a year in revenue from products containing PFOA.

       3.      Defendants Suppressed Information about the Risks of PFAS, Deceived
               Consumers and Regulators, and Failed to Act on their Knowledge

   189.     Despite their knowledge of the harms of their products, Defendants actively sought to

suppress scientific research on the hazards associated with PFAS and mounted a campaign to

control the scientific dialogue on the risks of PFAS.



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   190.    Through their roles as the designers, manufacturers, marketers, distributors, and

sellers of PFAS Products, Defendants had considerable influence over the information available

to their customers, environmental regulators, and the general public. Defendants had a vested

financial interest in exercising this influence to conceal the true harmful nature of PFAS, in spite

of their obligations to provide this information and to be truthful in advertising.

   191.    In internal documents and testimony made public, Defendants evidenced an

intentional corporate strategy to “shape the debate at all levels.” One consultant retained by Old

DuPont to work on PFAS issues outlined the company’s goal in a 2003 proposal to:

   [C]reate the climate and conditions that will obviate, or at the very least, minimize
   ongoing litigation and contemplated regulation relating to PFOA. This would include
   facilitating the publication of papers and articles dispelling the alleged nexus between
   PFOA and teratogenicity as well as other claimed harm. We would also lay the
   foundation for creating Daubert precedent to discourage additional lawsuits . . . . This
   battle must be won in the minds of the regulators, judges, potential jurors, and the
   plaintiff’s bar . . . . Manufacturers must be the aggressors.

   192.    Defendants’ efforts to suppress knowledge of the harms of PFAS began as soon as

evidence of its toxicity began to emerge, when the Defendants marked scientific studies and

related documents as “confidential,” withholding their disclosure in spite of the obvious public

interest and evidencing an awareness of legal liability. As 3M’s Dr. Rich Purdy wrote:

   3M told those of us working on the fluorochemical project not to write down our
   thoughts or have email discussions on issues because of how our speculations could be
   viewed in a legal discovery process. This has stymied intellectual development on the
   issue, and stifled discussion on the serious ethical implications of decisions.

   193.    3M used a variety of tactics to deceive others and to hide the negative effects of

PFAS. In Dr. Rich Purdy’s letter of resignation from 3M, he detailed, among other things: 3M’s

tactics to prevent research into the adverse effects of its PFOS; 3M’s submission of

misinformation about its PFOS to EPA; 3M’s failure to disclose substantial risks associated with

its PFOS to EPA; 3M’s failure to inform the public of the widespread dispersal of its PFOS in



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the environment and population; 3M’s production of chemicals it knew posed an ecological risk

and a danger to the food chain; and 3M’s attempts to keep its workers from discussing the

problems with the company’s fluorochemical projects to prevent their discussions from being

used in the legal process.

   194.    3M intentionally withheld scientific information about the material risks of its PFAS

Products. When researchers Guy and Taves contacted 3M in 1975 about the “universal presence”

of organic fluorine in compounds in blood among the general population, 3M “plead ignorance,”

misled them by “advis[ing] him that ‘Scotchgard’ was a polymeric material not a

[fluorochemical],” and took a position of “scientific curiosity and desire to assist in any way

possible.” 3M directed its Central Analytical Laboratory (CAL) to conduct similar sampling

from blood banks, from which an internal report concluded that the organic fluorine compounds

“resembled most closely” PFOS, confirming the suspicions held by the 3M researchers.

Subsequent 3M research in 1976 confirmed that the compounds found in human blood by Guy

and Taves were PFOS manufactured by 3M.

   195.    Guy and Taves proceeded to author a paper in 1979 speculating that the detected

compounds were POAA (an ammonium salt of PFOA) and sent the paper to CAL for review.

Despite its internal knowledge that the compounds were PFOS and its pledge to “assist in any

way possible,” 3M withheld the identity of the compound at the urging of its lawyers. 3M

facilitated the misdirection through two studies authored by the same CAL scientists who

internally identified PFOS in the blood bank samples; one study published in 1979 “suggest[ed]

the accuracy of Guy and Taves’ conclusions about the identity of the [organic fluorine] found in

blood,” and a second in 1981 stated that the detected compounds were instead a naturally

occurring substance.




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   196.    3M withheld material scientific information from government agencies as well. From

the 1970s, 3M conducted over a thousand studies related to the properties of PFAS and its effects

on human health and the environment. These studies should have been disclosed to the EPA,

pursuant to TSCA Section 8(e), but from 1980 to 1993, 3M submitted only eighty-four studies or

reports to the EPA. From 1998 to 2000, 3M submitted over 1,218 studies or reports, many of

which had been prepared decades earlier.

   197.    Even after 3M’s phaseout, the company worked to control and to distort the science

on PFAS. When 3M revealed in 1998 that PFOS was in the blood of the general population, it

developed a “Science Publication Strategy” to simultaneously publish select studies in academic

journals to create a “context which demonstrates that there is no medical or scientific basis to

attribute any adverse health effects to 3M products." Meanwhile, Dr. John Butenhoff, 3M’s

Manager of Corporate Toxicology, had already calculated a “safe” level of PFOS in human

blood of 1.05 ppb and he reported internally that 3M needed to replace “PFOS-based chemistry

as these compounds [are] VERY persistent and thus insidiously toxic.”

   198.    3M’s PFAS strategy included providing “[s]elective funding of outside research

through 3M ‘grant’ money,” including millions of dollars to a professor, John Giesy, who

publicly presented himself as an independent expert but behind the scenes worked for 3M by

reviewing articles submitted to academic journals for publishing. Dr. Giesy’s goal, as expressed

in a March 25, 2008, email, was to “keep ‘bad’ papers [regarding PFAS] out of the literature”

because “in litigation situations they can be a large obstacle to refute.” The deceptive intentions

of 3M and Dr. Giesy were further evidenced by his assurances to his benefactor that he acted to

ensure “there was no paper trail to 3M.”




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    199.    Similarly, Old DuPont conducted its own studies of the toxicity of PFOA but did not

communicate the results to the public or to regulators. Old DuPont understood the nature of

PFAS, the significance of its concentrations, and the hazards it presented to the company’s

employees, the public, and the environment.

    200.    Despite its knowledge, Old DuPont continued to manufacture PFAS while it actively

suppressed scientific awareness of the hazards of its products.

    201.    By the late 1990s, Old DuPont understood its substantial liability exposure from its

decades of releasing toxic PFAS into the environment. Internally, its employees expressed

concerns that “toxicity issues associated with [PFOA] exposure could turn it into the #1 DuPont

torte [sic] issue.”

    202.    These liability concerns extended to their interactions with regulators and their

misleading disclosures. Old DuPont lawyer Bernard Reilly said in 2001:

    [O]ur analytical technique [for measuring PFOA in water] has very poor recovery, often
    25%, so any results we get should be multiplied by a factor of 4 or 5. However, that has
    not been the practice, so we have been telling the agencies results that surely are low. Not
    a pretty situation, especially since we have been telling the drinking water folks not to
    worry, results have been under the level we deem “safe” of 1 ppb.

    [W]e are exceeding the levels we say we set as our own guideline, mostly because no one
    bothered to do the air modeling until now, and our water test has [been] completely
    inadequate . . . . I have been telling the business to get out all the bad news . . . . Too bad
    the business wants to hunker down as though everything will not come out in the
    litigation, god knows how they could be so clueless.

    203.    After EPA learned of the hazards of PFAS, the agency filed administrative actions

against 3M and Old DuPont for concealing their knowledge in violation of federal law.

    204.    In December 2005, Old DuPont settled with the EPA to pay approximately $16.5

million to resolve TSCA and RCRA claims alleged in two complaints filed by the agency in July

2004 and December 2004. Those claims included “multiple failures to report information to EPA




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about substantial risk of injury to human health or the environment from a chemical during a

period beginning in June of 1981 through March of 2001.”

   205.    In April 2006, 3M settled with the EPA to pay approximately $1.5 million to resolve

244 separate counts under TSCA related to PFOS and PFOA, following a company-wide audit.

   206.    Once EPA was first alerted to the health hazards of PFAS in 1998 and received a late

disclosure of over 1,200 reports and studies, the EPA and the general scientific community

commenced significant scientific inquiries into the nature of these chemicals. Since then, the

scientific community has produced a substantial body of research, with some years exceeding

1,000 published studies on PFAS. The extraordinary number of studies which have been

conducted in the last two decades reflect the profound lack of knowledge held by the government

and the general scientific community about the properties and risks of PFAS, as a consequence

of Defendants concealing and suppressing knowledge and research for decades. Defendants

sought to exploit that lack of knowledge to preserve their PFAS and related business lines.

   207.    Acting for commercial gain, Defendants manipulated, obfuscated, and failed to

disclose scientific studies and results relating to the persistence, bioaccumulation, and toxicity of

their PFAS Products. Defendants deceptively sought to mislead their customers about the safety

of their PFAS Products for environmental and human health and thereby delay the adoption of

safe or safer alternatives to PFAS Products.

   208.    Consequently, PFAS Products are still being released into the sediments, soils, and

waters of the State, harming the environment and endangering human health.

   E.      DuPont Defendants Executed a Fraudulent Scheme to Isolate Their Assets from
           Their PFAS Liabilities and Hinder Creditors

   209.    As regulators and the public became aware of the hazards presented by PFAS, Old

DuPont planned and executed a series of corporate restructurings, beginning in or about 2013



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and continuing through at least June 2019, designed to shield its assets from its substantial

environmental liabilities, especially those arising from PFOA and other PFAS contamination.

   210.    By 2013, Old DuPont knew, or reasonably should have known, that it had a potential

cumulative liability of billions of dollars arising from its PFAS-related activities.

   211.    Since at least 1999, when members of the Tennant family sued Old DuPont in West

Virginia federal court for contaminating their property with PFOA wastes from a landfill, Old

DuPont has been subject to mounting litigation arising from its half-century of designing,

manufacturing, marketing, distributing, and/or selling of PFAS.

   212.    In 2005, a West Virginia court approved a settlement from a class action lawsuit filed

against Old DuPont on behalf of 70,000 Ohio and West Virginia residents who were exposed to

PFOA discharged by Old DuPont from Washington Works.

   213.    Under the terms of the settlement, which provided class benefits in excess of $300

million, Old DuPont agreed to fund a panel of scientists (the “Science Panel”) to confirm which

diseases were linked to PFOA exposure; to filter local water from impacted public and private

drinking water supplies; and to pay up to $235 million for medical monitoring of the affected

community for any diseases that the Science Panel linked to PFOA exposure. The settlement also

provided that any class members who developed the diseases linked by the Science Panel would

be entitled to sue for personal injury, and Old DuPont agreed not to contest whether the class

members’ exposure to PFOA could have caused each of the linked diseases.

   214.    By 2012, after seven years of analysis, the Science Panel confirmed “probable links”

between exposure to PFOA and the following serious human diseases: medically diagnosed high

cholesterol; ulcerative colitis; pregnancy induced hypertension; thyroid disease; testicular cancer;

and kidney cancer.




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    215.    After the Science Panel confirmed such probable links with human disease, more than

3,500 personal injury claims were filed against Old DuPont in Ohio and West Virginia by class

members with one or more of those linked diseases under the terms of the 2005 class settlement.

In 2013, these claims were consolidated in federal multidistrict litigation styled In Re: E. I. du

Pont de Nemours and Company C-8 Personal Injury Litigation (MDL No. 2433) in the U.S.

District Court for the Southern District of Ohio (“Ohio MDL”). Forty bellwether trials were

scheduled to take place in 2015 and 2016.

    216.    The first three trials in the Ohio MDL ended in verdicts for the plaintiffs. Each jury

awarded damages in a larger amount than the one before it—the first awarded $1.6 million, the

second awarded $5.6 million, and the third awarded $12.5 million. The second and third jury

awards included punitive damages. Old DuPont then settled the remaining, pending claims for

$670.7 million.

    217.    Old DuPont knew, or should have known, prior to and following the Ohio MDL

trials, that it faced substantial liability for personal injury and environmental claims related to

PFOA and other toxic PFAS contamination caused by its manufacturing operations and that its

liability likely measured in the billions of dollars.

    218.    On information and belief, including but not limited to a complaint filed by Chemours

in Delaware, Old DuPont commenced an internal initiative, in or about 2013, where Old

DuPont’s management would restructure the company to evade responsibility for the widespread

environmental harm that Old DuPont’s actions had caused and shield billions of dollars in assets

from those liabilities. This initiative was referred to internally as “Project Beta.”

    219.    In furtherance of possible restructuring opportunities, including potential mergers,

Old DuPont and Old Dow began to discuss a possible “merger of equals” in or about 2013.




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   220.    On information and belief, including but not limited to a complaint filed by Chemours

in Delaware, Old DuPont recognized that Old Dow or any other rational merger partner would

never agree to a transaction that would expose it to the substantial PFAS and other

environmental liabilities held by Old DuPont.

   221.    Accordingly, Old DuPont’s management executed a three-step corporate restructuring

specifically orchestrated to shield Old DuPont’s valuable tangible assets from creditors of its

substantial environmental liabilities and to convince Old Dow to accept the proposed merger.

   222.    Old DuPont’s restructuring plan consisted of (1) Old DuPont’s attempt to cast off its

massive environmental liabilities onto Chemours and spinning off Chemours as a separate

publicly traded company; (2) the creation of New DuPont to facilitate a purported merger with

Old Dow; and (3) a series of internal restructurings and divestitures that culminated with the

spin-off of Old DuPont to its newly formed parent, Corteva.

   223.    The first step (the “Chemours Spin-off”) in Old DuPont’s fraudulent scheme was to

transfer its performance chemicals business, which included Teflon and other products

(“Performance Chemicals Business”), into its wholly owned subsidiary, Chemours. Then, in July

2015, Old DuPont saddled Chemours with Old DuPont’s massive environmental liabilities and

“spun off” Chemours as a separate, publicly traded entity.

   224.    On information and belief, Old DuPont knew that Chemours was undercapitalized

and could not satisfy the massive liabilities that it had forced upon Chemours. Old DuPont also

knew that the Chemours Spin-off alone would not fully insulate its assets from PFAS liability

because Old DuPont still faced direct liability for its own conduct.

   225.    The second step (the “DowDuPont Merger”) involved Old DuPont and Old Dow

entering into an “Agreement and Plan of Merger” in December 2015, pursuant to which Old




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DuPont and Old Dow merged with subsidiaries of a newly formed holding company,

DowDuPont, Inc. (“DowDuPont”), which was created for the sole purpose of effectuating the

merger. Old DuPont and Old Dow became subsidiaries of DowDuPont.

   226.     In the third step (the “DowDuPont Separation”), DowDuPont engaged in numerous

business segment and product line “realignments” and “divestitures,” which transferred, either

directly or indirectly, a substantial portion of Old DuPont’s assets to DowDuPont and culminated

in DowDuPont spinning off two new publicly traded companies: Corteva, which currently holds

Old DuPont as a subsidiary, and New Dow, which currently holds Old Dow as a subsidiary.

DowDuPont was then renamed DuPont de Nemours, Inc. (i.e., New DuPont).

   227.     As a result of this restructuring, between December 2014 (before the Chemours Spin-

off) and December 2019 (after the DowDuPont Separation), the value of Old DuPont’s tangible

assets decreased by $20.85 billion, or by approximately one-half.

   228.     New DuPont, New Dow, and Corteva now hold a significant portion of the tangible

assets that Old DuPont formerly owned.

   229.     Many of the details about these transactions are hidden from the public in confidential

schedules and exhibits to the various restructuring agreements. On information and belief, Old

DuPont, New DuPont, New Dow, and Corteva are concealing from creditors, such as the State,

the details of where Old DuPont’s valuable assets were transferred and of the inadequate

consideration that Old DuPont received in return.

   230.     In greater detail, the restructuring scheme was implemented as follows.

       1.      Step One: The Chemours Spin-off

   231.     In February 2014, Old DuPont formed Chemours as a wholly owned subsidiary.




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   232.    In April 2015, Chemours was converted from a limited liability company to a

corporation named “The Chemours Company,” in preparation for the July 2015 Spin-Off.

   233.    At the time of the Spin-off, the Performance Chemicals Business consisted of Old

DuPont’s Titanium Technologies, Chemical Solutions, and Fluoroproducts segments, including

business units that had manufactured, used, and discharged PFOA into the environment.

   234.    During the Spin-Off preparations, the Chemours Board consisted exclusively of three

Old DuPont employees who would not remain with Chemours following the Spin-off – DuPont’s

M&A Counsel, Nigel Pond; DuPont’s Treasury Manager, Michael Heffernan; and DuPont’s

M&A Manager, Steven Zelac. A fourth board member was appointed on June 19, 2015, who had

served on Old DuPont’s board of directors for the prior seventeen years.

   235.    During the Spin-off preparations, Chemours did not have procedural protections to

effectuate a meaningful, arm’s-length negotiation of the Spin-off, such as a Board or

management independent of Old DuPont. Old DuPont also did not allow Chemours or its

DuPont-selected prospective management team to have independent counsel to represent

Chemours’s interests in structuring the Chemours Spin-off – all documents for the Chemours

Spin-off were prepared by Old DuPont and its outside counsel.

   236.    To effectuate the Chemours Spin-off, a separation agreement (the “Chemours

Separation Agreement”) between Old DuPont and Chemours was executed on June 26, 2015, by

Nigel Pond on Chemours’s behalf, acting in the temporary role of “Vice President” of Chemours.

   237.    Pursuant to the Chemours Separation Agreement, Old DuPont agreed to transfer to

Chemours all businesses and assets related to the Performance Chemicals Business, including

thirty-seven active chemical plants.




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   238.    At the same time, Chemours accepted a broad assumption of Old DuPont’s massive

liabilities relating to Old DuPont’s Performance Chemicals Business. The specific details

regarding the nature, value of probable maximum loss, and anticipated timing of the liabilities

that Chemours assumed are not publicly available.

   239.    The Chemours Separation Agreement requires Chemours to indemnify Old DuPont

against, and assume for itself, all “Chemours Liabilities,” which are defined broadly to include,

among other things, “[a]ny and all Liabilities relating to, arising primarily out of or resulting

primarily from, the operation or conduct of the [Performance Chemicals] Business, as conducted

at any time,” including “any and all Chemours Assumed Environmental Liabilities,” which

includes Old DuPont’s historical liabilities relating to and arising from its decades of emitting

PFAS and related products into the environment. The indemnification provision is uncapped and

does not have a survival period.

   240.    Under the Chemours Separation Agreement, Chemours must indemnify Old DuPont

against and assume for itself the Chemours Liabilities regardless of (1) when or where such

liabilities arose; (2) whether the facts upon which they are based occurred prior to, on, or

subsequent to the effective date of the Spin-off; (3) where or against whom such liabilities are

asserted or determined; (4) whether such liabilities arise from or are alleged to arise from

negligence, gross negligence, recklessness, violation of law, fraud, or misrepresentation by any

member of the Old DuPont group or the Chemours group; (5) the accuracy of the maximum

probable loss values assigned to such liabilities; and (6) which entity is named in any action

associated with any liability.




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   241.    In addition, Chemours agreed to use its best efforts to be fully substituted for Old

DuPont with respect to “any order, decree, judgment, agreement or Action with respect to

Chemours Assumed Environmental Liabilities.”

   242.    Notwithstanding the billions of dollars in environmental and PFAS liabilities that

Chemours would assume, Old DuPont also caused Chemours to transfer to Old DuPont on July

1, 2015, a “dividend” of $3.9 billion – approximately $3.4 billion in cash, along with a

“distribution in kind” of promissory notes with an aggregate principal amount of $507 million.

   243.    Old DuPont required Chemours to fund the dividend through financing transactions,

including senior secured term loans and senior unsecured notes, totaling approximately $3.995

billion, entered into on May 12, 2015.

   244.    Chemours distributed approximately $3 billion in common stock to Old DuPont’s

shareholders on July 1, 2015 (181 million shares at $16.51 per share price).

   245.    Accordingly, most of the valuable assets that Chemours may have had at the time of

the Chemours Spin-off were unavailable to creditors with current or future PFAS claims, like

those of the State, and Old DuPont stripped Chemours’s value for itself and its shareholders. In

total, Chemours transferred almost $7 billion in stock, cash, and notes to Old DuPont and its

shareholders. Old DuPont, however, transferred only $4.1 billion in net assets to Chemours and

saddled the fledgling company with many billions of dollars in PFAS and other liabilities.

   246.    On July 1, 2015, Old DuPont completed the spin-off of Chemours, and Chemours

became a separate, publicly traded entity.

   247.    Shortly after the Chemours Spin-off, market analysts described Chemours as “a

bankruptcy waiting to happen” and a company “purposely designed for bankruptcy.”




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   248.       Not surprisingly, given Old DuPont’s extraction of nearly $4 billion from Chemours

immediately prior to the Chemours Spin-off, Chemours was thinly capitalized and unable to

satisfy the substantial liabilities it had assumed from Old DuPont. Indeed, Chemours disclosed in

public filings with the U.S. Securities and Exchange Commission (“SEC”) that its “significant

indebtedness” arising from its separation from Old DuPont restricted its current and future

operations.

   249.       The Chemours Spin-off was so one-sided that in May 2019, Chemours sued Old

DuPont, New DuPont, and Corteva in Delaware Chancery Court. See Chemours Company v.

DowDuPont, C.A. No. 2019-0351 (Del. Ch. Ct., filed May 13, 2019).

   250.       In its Amended Complaint Chemours alleged that the primary motivation for the

Chemours Spin-off, the subsequent creation of New DuPont, and the final separation of Corteva

was to enable Old DuPont to “wash its hands of its environmental liabilities.”

   251.       Chemours also alleged, among other things, that if the full value of Old DuPont’s

PFAS and environmental liabilities were properly estimated, and if the Delaware court did not

limit the liability that the Chemours Separation Agreement imposed on it, then Chemours would

have been insolvent at the time it was spun off from Old DuPont.

   252.       At the end of December 2014, Chemours reported it had total assets of $5.959 billion

and total liabilities of $2.286 billion. Following the Spin-off, Chemours reported in its 2015

Annual Report that it had total assets of $6.298 billion and total liabilities of $6.168 billion,

yielding a total net worth of $130 million.

   253.       In the 2015 Annual Report, removing Chemours’s goodwill and other intangibles of

$176 million yields tangible net worth of negative $46 million (that is, Chemours’s liabilities

were greater than its tangible assets).




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   254.     Chemours reported that these liabilities included $454 million in “other accrued

liabilities,” which included $11 million for accrued litigation and $68 million for environmental

remediation. Chemours had $553 million in “other liabilities,” which included $223 million for

environmental remediation and $58 million for accrued litigation.

   255.     This report significantly underestimated its liabilities, including the liabilities that it

had assumed from Old DuPont with respect to PFAS contamination, which Old DuPont and

Chemours knew or should have known would be billions of dollars.

   256.     For example, in 2017, Chemours and Old DuPont amended the Chemours Separation

Agreement in connection with the settlement of the Ohio MDL brought by thousands of residents

who had been exposed to PFOA from Old DuPont’s Washington Works plant. Per the

amendment, Chemours paid $320.35 million to the plaintiffs in the settlement on August 21,

2017, and Old DuPont paid an additional $320.35 million on September 1, 2017.

   257.     Had Chemours accounted for the full extent of Old DuPont’s legacy liabilities, as it

should have done, Chemours would have had negative equity (that is, total liabilities greater than

total assets), not only on a tangible basis, but also on a total equity basis, and Chemours would

have been rendered insolvent at the time of the Chemours Spin-off.

       2.       Step Two: The DowDuPont Merger

   258.     After the Chemours Spin-off, Old DuPont took the position that it was no longer

responsible for the widespread PFAS contamination that it had caused. Old DuPont publicly

claimed that the PFAS liabilities associated with the Performance Chemicals Business rested

solely with Chemours, not Old DuPont.




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   259.    Old DuPont could not contractually discharge all of its historical liabilities through

the Chemours Spin-off. On information and belief, Old DuPont knew that it could still face

exposure for PFAS liabilities. So Old DuPont moved to the next phase of its fraudulent scheme.

   260.    On December 11, 2015, less than six months after the Chemours Spin-off, Old

DuPont and Old Dow announced that their respective boards had approved an agreement “under

which the companies [would] combine in an all-stock merger of equals” and that the combined

company would be named DowDuPont, Inc. The companies disclosed that they intended to

subsequently separate the combined companies’ businesses into three publicly traded companies

through further spin-offs, each of which would occur eighteen to twenty-four months following

the closing of the merger.

   261.    To effectuate the transaction, Old DuPont and Old Dow entered into an Agreement

and Plan of Merger (the “Dow-DuPont Merger Agreement”) that provided for the formation of a

new holding company – Diamond-Orion HoldCo, Inc., later named DowDuPont, and then

renamed DuPont de Nemours, Inc. (i.e., New DuPont) – and the creation of two new merger

subsidiaries into which Old Dow and Old DuPont each would merge.

   262.    Thus, as a result of the merger, and in accordance with the Dow-DuPont Merger

Agreement, Old Dow and Old DuPont each became wholly owned subsidiaries of DowDuPont.

   263.    Although Old DuPont and Old Dow referred to the transaction as a “merger of

equals,” the two companies did not actually merge at all, likely because doing so would have

infected Old Dow with all of Old DuPont’s historical PFAS liabilities. Rather, Old DuPont and

Old Dow became affiliated sister companies that were each owned by the newly formed

DowDuPont.




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       3.      Step Three: The DowDuPont Separation

   264.     Following the merger, New DuPont (DowDuPont) underwent a significant internal

reorganization and engaged in numerous business segment and product line “realignments” and

“divestitures.” The net effect of these transactions has been the transfer, either directly or

indirectly, of a substantial portion of Old DuPont’s assets out of the company.

   265.     While much of the details of these transactions were hidden from the State and other

creditors, it is apparent that the transactions were intended to further frustrate and hinder

creditors with claims against Old DuPont, including with respect to its substantial environmental

and PFAS liabilities.

   266.     Old DuPont’s assets, including its remaining business segments and product lines,

were transferred either directly or indirectly to New DuPont, which reshuffled the assets and

combined them with the assets of Old Dow, and then reorganized the combined assets into three

distinct divisions: the “Agriculture Business”; the “Specialty Products Business”; and the

“Materials Science Business.”

   267.     While the precise composition of these divisions, including many details of the

specific transactions, the transfer of business segments, and the divestiture of product lines

during this time, are not publicly available, it is apparent that Old DuPont transferred a

substantial portion of its valuable assets to New DuPont for less than the assets were worth.

   268.     Once the assets of Old DuPont and Old Dow were combined and reorganized, New

DuPont incorporated two new companies to hold two of the three newly formed business lines.

Corteva became the parent holding company of Old DuPont, which in turn holds the Agriculture

Business. New Dow became the parent holding company of Old Dow and holds the Materials




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Science Business. New DuPont retained the Specialty Products Business and prepared to spin off

Corteva and New Dow into separate, publicly traded companies.

   269.    The mechanics of the separations are governed by the April 1, 2019, Separation and

Distribution Agreement among Corteva, New Dow, and New DuPont (the “DowDuPont

Separation Agreement”).

   270.    The DowDuPont Separation Agreement generally allocates the assets primarily

related to the respective business divisions of Corteva (Agriculture Business), New Dow

(Materials Science Business), and New DuPont (Specialty Products Business). New DuPont also

retained several “non-core” business segments and product lines that once belonged to Old

DuPont.

   271.    Corteva, New Dow, and New DuPont likewise retained the liabilities primarily

related to the business divisions that they retained. In particular, Corteva retained and assumed

the liabilities related to the Agriculture Business, New DuPont retained and assumed the

liabilities related to the Specialty Products Business, and New Dow retained and assumed the

liabilities related to the Materials Science Business.

   272.    Corteva and New DuPont also assumed direct financial liability of Old DuPont that

was not related to the Agriculture, Materials Science, or Specialty Products Businesses,

including, on information and belief, the PFAS liabilities. These assumed PFAS liabilities are

allocated between Corteva and New DuPont pursuant to the DowDuPont Separation Agreement.

These assumed PFAS liabilities are allocated on a pro rata basis between Corteva and New

DuPont pursuant to the DowDuPont Separation Agreement, such that, after both companies have

satisfied certain conditions, future liabilities are allocated seventy-one percent to New DuPont

and twenty-nine percent to Corteva.




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   273.     This “allocation” applies to Old DuPont’s legacy liabilities for PFAS contamination

and its former Performance Chemicals Business, including the State’s claims in this case.

   274.     The separation of New Dow was completed on or about April 1, 2019, when New

DuPont distributed all of New Dow’s common stock to New DuPont stockholders as a pro rata

dividend.

   275.     New DuPont then consolidated the Agricultural Business line into Old DuPont and

“contributed” Old DuPont to Corteva.

   276.     On June 1, 2019, New DuPont spun off Corteva as an independent public company,

when New DuPont distributed all of Corteva’s common stock to New DuPont stockholders as a

pro rata dividend.

   277.     Corteva now holds 100 percent of the outstanding common stock of Old DuPont.

   278.     Also, on or about June 1, 2019, DowDuPont changed its registered name to DuPont

de Nemours, Inc. (i.e., New DuPont).

   279.     On or about January 1, 2023, Old DuPont changed its registered name to EIDP, Inc.

   F.       The Effect of the Years-Long Conspiracy to Defraud the State and Other
            Creditors and Avoid Financial Responsibility for Legacy Liabilities

   280.     The net result of these transactions was to strip away valuable tangible assets from

Old DuPont and transfer those assets to New DuPont, New Dow, and Corteva for far less than

the assets are worth.

   281.     Old DuPont estimated that the DowDuPont Merger created “goodwill” worth billions

of dollars. When the Corteva separation was complete, a portion of this “goodwill” was assigned

to Old DuPont in order to prop up its balance sheet. But, in reality, Old DuPont was left with

substantially fewer tangible assets than it had prior to the restructuring.




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   282.    SEC filings demonstrate the substantial deterioration of Old DuPont’s finances and

the drastic change in its financial condition before and after the above transactions.

   283.    For example, for the 2014 fiscal year, prior to the Chemours Spin-off, Old DuPont

reported $3.6 billion in net income and $3.7 billion in cash provided by operating activities. For

the 2019 fiscal year, just months after the Corteva separation, Old DuPont reported a net loss of

$1 billion and only $996 million in cash provided by operating activities. That is a decrease of

128 percent in net income and a decrease of seventy-three percent in annual operating cash flow.

   284.    Old DuPont reported a significant decrease in Income from Continuing Operations

Before Income Taxes (a/k/a Earnings Before Tax, or “EBT”). Old DuPont reported $4.9 billion

in EBT for the period ending December 31, 2014. For the period ending December 31, 2019, Old

DuPont reported EBT of negative $422 million.

   285.    The value of Old DuPont’s tangible assets further underscores Old DuPont’s

precarious financial situation. For the 2014 fiscal year, prior to the Chemours Spin-off, Old

DuPont owned nearly $41 billion in tangible assets. For the 2019 fiscal year, Old DuPont owned

just under $21 billion in tangible assets.

   286.    That means in the five-year period over which the restructuring occurred, when Old

DuPont knew that it faced billions of dollars in environmental and PFAS liabilities, Old DuPont

transferred or divested approximately half of its tangible assets, totaling $20 billion.

   287.    As of September 2019, just after the Corteva separation, Old DuPont reported

$43.251 billion in assets. But almost $21.835 billion of these assets were composed of intangible

assets, including “goodwill” from its successive restructuring activities.




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   288.    At the same time, Old DuPont reported liabilities totaling $22.060 billion. Thus, when

the Corteva separation was complete, Old DuPont’s tangible net worth (excluding its intangible

assets) was negative $644 million.

   289.    Old DuPont’s tangible net worth between September 30 and December 31, 2019,

declined even further, whereby Old DuPont ended fiscal year 2019 with tangible net worth of

negative $1.125 billion.

   290.    Neither New DuPont, New Dow, nor Corteva have publicly conceded that they

assumed Old DuPont’s historical environmental and PFAS liabilities. And it is far from clear that

any of those entities will be able to satisfy future judgments.

   291.    Indeed, New DuPont—to which seventy-one percent of Old DuPont’s liabilities are

allocated under the DowDuPont Separation Agreement once certain conditions are satisfied—has

divested numerous business segments and product lines, including tangible assets that it received

from Old DuPont and for which Old DuPont has received less than reasonably equivalent value.

   292.    In September 2019, New DuPont sold the Sustainable Solutions business for $28

million to Gyrus Capital.

   293.    On or about December 15, 2019, New DuPont agreed to sell the Nutrition and

Biosciences business to International Flavors & Fragrances for $26.2 billion.

   294.    In March 2020, New DuPont completed the sale of Compound Semiconductor

Solutions for $450 million to SK Siltron.

   295.    The Chemours Spin-off, the DowDuPont Merger, and the DowDuPont Separation

were part of a single coordinated fraudulent scheme to hinder, delay, and defraud Old DuPont’s

creditors. The Chemours Spin-off constitutes a fraudulent transfer, which entitles the State to,

among other things, void the transaction and recover property or value transferred from




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Chemours in the transaction. The DowDuPont Merger and DowDuPont Separation likewise

constitute fraudulent transfers that entitle the State to, among other things, recover property and

value transferred to New DuPont, New Dow, and Corteva.

                                            COUNT I
                                       (PUBLIC NUISANCE)

    1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

    Paragraphs 1 through 295 of this Count I as if fully set forth herein.

    296.     The Connecticut General Assembly has declared “that the pollution of the waters of

the state is inimical to the public health, safety and welfare of the inhabitants of the state, is a

public nuisance and is harmful to wildlife, fish and aquatic life and impairs domestic,

agricultural, industrial, recreational and other legitimate beneficial uses of water.” Conn. Gen.

Stat. § 22a-422.

    297.     The health, safety, and welfare of the citizens of Connecticut, including those affected

by the contamination of Connecticut drinking water, groundwater, surface water, fish, soil,

sediment, and other natural resources is a matter of great public interest to the State.

    298.     By their acts and omissions, Defendants have created a public nuisance which

unreasonably and substantially interferes with public health, safety, and welfare and the

environment and which obstructs the public’s free use and comfortable enjoyment of

Connecticut’s natural resources for commerce, navigation, fishing, recreation, and aesthetic

enjoyment.

    299.     Defendants designed, manufactured, marketed, distributed, and/or sold PFAS

Products in a manner which created a public nuisance that is harmful to public health and

obstructs the free use and enjoyment of Connecticut’s natural resources.




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   300.    Defendants knew or should have known that their PFAS Products, as ordinarily used,

were likely to end up contaminating drinking water, groundwater, surface water, fish, soil,

sediment, and other natural resources.

   301.    Defendants’ conduct and the release of their PFAS Products onto State natural

resources and property has a natural tendency to create danger and inflict injury upon persons

and property.

   302.    Defendants’ conduct created and maintained, and continues to create and maintain, a

public nuisance which interferes with public rights and with public health and safety.

   303.    By their acts and omissions, Defendants’ creation of the public nuisance was

unreasonable and/or unlawful.

                                             COUNT II
                                            (TRESPASS)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count II as if fully set forth herein.

   296.    The State has significant property interests in its natural resources and property,

including its role as trustee of certain public trust resources which authorizes the State to take

action to protect such natural resources from contamination and injury.

   297.    The State owns in fee certain property within the State, including lands and some

drinking water wells.

   298.    The State also brings this action in its parens patriae capacity on behalf of its citizens

to protect quasi-sovereign interests, including the integrity of the State’s natural resources held in

trust on behalf of its citizens. The State in its parens patriae capacity seeks relief for the invasion

of these possessory interests by PFAS Products.




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    299.      Defendants’ acts and omissions directly and proximately caused PFAS Products to

intrude onto and contaminate State natural resources and property, including groundwater,

surface waters, soils, sediments, and other natural resources and property.

    300.      At the time of Defendants’ acts and omissions, Defendants knew and understood, or

should have known and understood, the properties of their PFAS Products, including through

their knowledge and experience regarding contamination at their own facilities where they

manufactured and/or used the PFAS Products. Defendants knew with substantial certainty that

PFAS Products would intrude onto and contaminate State natural resources and property,

including groundwater, surface waters, soils, sediments, and other natural resources and

property. Despite this knowledge, Defendants designed, manufactured, marketed, distributed,

and/or sold PFAS Products to the detriment of the State.

    301.      Defendants actively concealed material information about the harms they were

inflicting.

    302.      The State never authorized Defendants’ invasion of its natural resources and property

with the PFAS Products.

    303.      As a direct and proximate result of Defendants’ acts and omissions, the State’s natural

resources and property are contaminated with PFAS Products and as a result the State’s damages

include without limitation damages to natural resources, wildlife, and property in Connecticut.

The State has incurred and will continue to incur investigation, remediation, cleanup, restoration,

removal, treatment, monitoring, and other costs and expenses related to contamination of the

State’s natural resources and property, for which Defendants are jointly and severally liable.




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                                          COUNT III
                                        (NEGLIGENCE)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count III as if fully set forth herein.

   296.     Defendants owed a duty of care to the State of Connecticut and to all parties

foreseeably injured by their PFAS Products, including, but not limited to, the exercise of

reasonable care in the design, manufacture, marketing, distribution, and sale of their PFAS

Products.

   297.     Defendants breached that duty of care in the course of designing, manufacturing,

marketing, distributing, and/or selling their PFAS Products because they knew or should have

known that the PFAS Products are hazardous to State natural resources and property, including

groundwater, surface waters, soils, sediments, and other natural resources and property, and

would cause the State and other injured parties to suffer substantial damages and incur

substantial expenditures.

   298.     Defendants knew or should have known that: the use of PFAS Products in their

intended manner would result in the discharge, disposal, or release of PFAS into the

environment; PFAS are extremely persistent in the environment, very mobile, and highly soluble

in water; when released, PFAS would contaminate property and natural resources located

throughout Connecticut, including soils, sediments, groundwater, surface waters, wildlife, and

drinking water supplies; PFAS posed substantial risks to human health and the environment; and

ultimately, PFAS would be difficult and costly to remove.

   299.     Defendants were untruthful about their products, hid relevant information, and failed

to disclose or were otherwise unforthcoming with relevant information about the characteristics

and dangers of their PFAS Products.



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    300.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

persistent, mobile in the environment, and cause injury to human health and the environment,

Defendants negligently designed, manufactured, marketed, distributed, and/or sold PFAS

Products.

    301.    These and other negligent acts by Defendants were a direct and proximate cause of

widespread PFAS contamination in Connecticut and as a result the State’s damages include

without limitation damages to natural resources, wildlife, and property in Connecticut.

Additionally, the State has incurred and will continue to incur investigation, remediation,

cleanup, restoration, removal, treatment, monitoring, and other costs and expenses related to

contamination of the State’s natural resources and property, for which Defendants are jointly and

severally liable.

                                   COUNT IV
(Conn. Gen. Stat. § 22a-16 – CONNECTICUT ENVIRONMENTAL PROTECTION ACT)

    1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

    Paragraphs 1 through 295 of this Count IV as if fully set forth herein.

    296.    The General Assembly has found and declared that “there is a public trust in the air,

water and other natural resources of the state of Connecticut and that each person is entitled to

the protection, preservation and enhancement of the same” and further “that it is in the public

interest to provide all persons with an adequate remedy to protect the air, water and other natural

resources from unreasonable pollution, impairment or destruction.” Conn. Gen. Stat. § 22a-15.

    297.    The Attorney General may “maintain an action in the superior court . . . for

declaratory and equitable relief . . . for the protection of the public trust in the air, water and

other natural resources of the state from unreasonable pollution, impairment or destruction.”

Conn. Gen. Stat. § 22a-16.



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    298.     In such an action maintained by the Attorney General, the court may also order

defendants to: “provide for the restoration of any natural resource or the investigation,

remediation or mitigation of any environmental pollution on or at any real property which

resource or property are unrelated to such action”; “provide for any other project approved by the

Commissioner of Energy and Environmental Protection for the enhancement of environmental

protection or conservation of natural resources”; or make a financial contribution to an

environmental research project or to a State remediation fund. Conn. Gen. Stat. § 22a-16a.

    299.     The natural resources of the State of Connection have been polluted and impaired

with PFAS, including but not limited to, its air, soils, sediments, biota, surface water, estuaries,

submerged lands, wetlands, groundwater, and drinking water.

    300.     Defendants, through their acts and omissions as alleged herein, have unreasonably

polluted, impaired, and/or destroyed the State’s air, soil, sediment, biota, surface water, estuaries,

submerged lands, wetlands, groundwater, drinking water, and other natural resources by

releasing PFAS into the environment and allowing them to bioaccumulate, biomagnify, and

persist in the State’s natural resources.

    301.     As a direct and proximate result of Defendants’ acts and omissions as described

herein, the State’s natural resources have been unreasonably polluted, impaired, and/or

destroyed.

    302.     As a direct and proximate result of Defendants’ acts and omissions as described

herein, the State of Connecticut has incurred and will continue to incur substantial expenses and

damages as set forth herein.

    303.     The acts and omissions of the Defendants have caused PFAS contamination which

amounts to unreasonable pollution, impairment, and/or destruction of the State’s natural




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resources, necessitating declaratory and equitable relief to protect the public trust under Conn.

Gen. Stat. § 22a-16.

                                          COUNT V
             (Conn. Gen. Stat. § 22a-430 – DISCHARGE WITHOUT A PERMIT)

    1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

    Paragraphs 1 through 295 of this Count V as if fully set forth herein.

    296.     Under Conn. Gen. Stat. § 22a-430, “[n]o person or municipality shall initiate, create,

originate or maintain any discharge of water, substance or material into the waters of the state

without a permit for such discharge issued by the [CT DEEP] commissioner.”

    297.     “Waters” means “all tidal waters, harbors, estuaries, rivers, brooks, watercourses,

waterways, wells, springs, lakes, ponds, marshes, drainage systems and all other surface or

underground streams, bodies or accumulations of water, natural or artificial, public or private,

which are contained within, flow through or border upon this state or any portion thereof.” Conn.

Gen. Stat. § 22a-423.

    298.     Defendants, through their acts and omissions as alleged herein, have caused the

discharge of PFAS into the waters of the state without a permit.

    299.     As a result of Defendants’ design, manufacturing, marketing, distribution, and/or sale

of PFAS Products, highly mobile and polluting PFAS have been discharged into the waters of

the State.

    300.     As a result of Defendants’ omissions, representations, and deceptions, highly mobile

and polluting PFAS have been and continue to be discharged in the State of Connecticut either

directly or indirectly into the waters of the state.

    301.     As alleged herein, numerous waters of the state have been polluted and impaired by

Defendants’ PFAS.



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   302.    Pursuant to Conn. Gen. Stat. § 22a-430(d), “[i]f the [CT DEEP] commissioner finds

that any person or municipality has initiated, created or originated or is maintaining any

discharge into the waters of the state without a permit . . . the commissioner may request the

Attorney General to bring an action . . . to enjoin such discharge by such person or municipality

until the person or municipality has received a permit from the commissioner or has complied

with a permit which the commissioner has issued pursuant to this section, or for injunctive relief

to remediate the effects of such discharge.”

   303.    The Defendants have initiated, created, originated, or maintained a discharge to the

waters of the State without a permit in violation of Conn. Gen. Stat. § 22a-430.

   304.    Pursuant to Conn. Gen. Stat. § 22a-438, any person who violates any provision of this

chapter shall be assessed a civil penalty not to exceed twenty-five thousand dollars per day per

violation to be fixed by the court, for each offense.

                                       COUNT VI
       (Conn. Gen. Stat. § 22a-427 – POLLUTION OR DISCHARGE OF WASTES
                                      PROHIBITED)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count VI as if fully set forth herein.

   296.    Under Conn. Gen. Stat. § 22a-427, “[n]o person or municipality shall cause pollution

of any of the waters of the state or maintain a discharge of any treated or untreated wastes in

violation of any provision of this chapter.”

   297.    “Pollution” means “harmful thermal effect or the contamination or rendering unclean

or impure or prejudicial to public health of any waters of the state by reason of any wastes or

other material discharged or deposited therein by any public or private sewer or otherwise so as

directly or indirectly to come in contact with any waters.” Conn. Gen. Stat. § 22a-423.




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    298.     “Wastes” means “sewage or any substance, liquid, gaseous, solid or radioactive,

which may pollute or tend to pollute any of the waters of the state.” Conn. Gen. Stat. § 22a-423.

    299.     “Waters” means “all tidal waters, harbors, estuaries, rivers, brooks, watercourses,

waterways, wells, springs, lakes, ponds, marshes, drainage systems and all other surface or

underground streams, bodies or accumulations of water, natural or artificial, public or private,

which are contained within, flow through or border upon this state or any portion thereof.” Conn.

Gen. Stat. § 22a-423.

    300.     Defendants, through their acts and omissions as alleged herein, have caused pollution

of the waters of the state with PFAS from their PFAS Products.

    301.     As a result of Defendants’ design, manufacturing, marketing, distribution, and/or sale

of PFAS Products, highly mobile and polluting PFAS have been discharged into the waters of

the State.

    302.     As a result of Defendants’ omissions, representations, and deceptions, highly mobile

and polluting PFAS have been and continue to be discharged in the State of Connecticut either

directly or indirectly into the waters of the state.

    303.     The discharge of PFAS into the waters of the state, or onto the lands of the state and

from which the PFAS have traveled to the waters of the state, has contaminated and rendered

various waters unclean and prejudicial to public health.

    304.     As alleged herein, numerous waters of the state have been contaminated with PFAS.

    305.     Pursuant to Conn. Gen. Stat. § 22a-438, any person who violates any provision of this

chapter shall be assessed a civil penalty not to exceed twenty-five thousand dollars per day per

violation, to be fixed by the court, for each offense.




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                                     COUNT VII
 (Conn. Gen. Stat. § 22a-451 – LIABILITY FOR POLLUTION, CONTAMINATION, OR
                                    EMERGENCY)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count VII as if fully set forth herein.

   296.    Under Conn. Gen. Stat. § 22a-451, “[a]ny person, firm, or corporation which directly

or indirectly causes pollution and contamination of any land or waters of the state or indirectly

causes an emergency through the maintenance, discharge, spillage, uncontrolled loss, seepage or

filtration of . . . chemical liquids or solid, liquid or gaseous products or hazardous wastes or

which owns any hazardous wastes deemed by the [CT DEEP] commissioner to be a potential

threat to human health or the environment and removed by the commissioner shall be liable for

all costs and expenses incurred in investigating, containing, removing, monitoring or mitigating

such pollution and contamination, emergency or hazardous waste, and legal expenses and court

costs incurred in such recovery.”

   297.    The cost and expenses which may be recovered under this section include “the

administrative cost of such action calculated at ten per cent of the actual cost plus the interest on

the actual cost at a rate of ten per cent per year thirty days from the date such costs and expenses

were sought.”

   298.    Conn. Gen. Stat. § 22a-451 further provides that “if such pollution or contamination

or emergency was negligently caused, such person, firm or corporation may, at the discretion of

the court, be liable for damages equal to one-half times the cost and expenses incurred and

provided further if such pollution or contamination or emergency was wilfully caused, such

person, firm or corporation may, at the discretion of the court, be liable for damages equal to two

times the cost and expenses incurred.”




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   299.    As alleged herein, Defendants have caused pollution and contamination of the lands

and waters of the State of Connecticut by PFAS.

   300.    Defendants have created an emergency by directly and/or indirectly causing the

maintenance, discharge, spillage, uncontrolled loss, seepage, or filtration of PFAS into or onto

the lands and waters of the State of Connecticut.

   301.    As alleged herein, there is widespread pollution and contamination of lands and water

in the State by PFAS.

   302.    The State has incurred and will continue to incur investigation, remediation, cleanup,

restoration, removal, treatment, monitoring, and other costs and expenses related to

contamination of the State’s natural resources and property, as well as costs and expenses

incurred responding to the PFAS pollution of non-State lands and waters.

   303.    Defendants, through their acts and omissions, willfully caused the PFAS pollution

and contamination and emergency. As alleged herein, Defendants had knowledge of the

characteristics of PFAS and their PFAS Products and knew or reasonably should have known

that the use of such products would injure the State and its citizens. Despite their knowledge,

Defendants chose to conceal and misrepresent material facts about their PFAS Products and

continued to supply those products to the State and others.

   304.    As a consequence of Defendants’ acts and omissions, Defendants are liable to the

State under Conn. Gen. Stat. § 22a-451 for two times the cost and expenses incurred by the State

responding to PFAS water pollution.




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                                       COUNT VIII
     (Conn. Gen. Stat. § 22a-471(b)(4)B) – REIMBURSEMENT FOR PROVISION OF
                             POTABLE DRINKING WATER)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count VIII as if fully set forth herein.

   296.     Under Conn. Gen. Stat. § 22a-471(b)(4)(B), “any person or municipality responsible

for pollution of the groundwaters” may be required to reimburse “the state, a water company,

and any municipality” for “the expenses each incurred in providing potable drinking water to any

person affected by such pollution.”

   297.     The cost and expenses which may be recovered under this section include “(i) the

expenses each incurred in providing potable drinking water to any person affected by such

pollution, provided the required reimbursement for such expenses shall not exceed the actual cost

of short-term provision of potable drinking water and an amount equal to the reasonable cost of

planning and implementing the most cost-effective long-term method of providing potable

drinking water as determined by the [CT DEEP] commissioner and the Commissioner of Public

Health; (ii) costs for recovering such reimbursement; (iii) interest on the expenses specified in (i)

at a rate of ten per cent a year from the date such expenses were paid; and (iv) reasonable

attorney's fees.”

   298.     Conn. Gen. Stat. § 22a-471(b)(5) further provides that “[f]or purposes of this section

except . . . subparagraph (B)(ii) of subdivision (4) of this subsection, ‘cost’ includes only those

costs that the [CT DEEP] commissioner determines are necessary and reasonable, including, but

not limited to, the cost of plans and specifications, construction or installation and supervision

thereof.”




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   299.    As alleged herein, Defendants have caused pollution and contamination of

groundwaters of the State of Connecticut by PFAS.

   300.    Defendants have caused the incurrence, and continued incurrence, of costs for

providing potable drinking water to persons affected by groundwater pollution, including but not

limited to the short-term provision of potable drinking water, the planning and implementation of

long-term methods of providing potable drinking water, and the construction or installation and

supervision of methods for providing potable drinking water.

   301.    As a consequence of Defendants’ acts and omissions, Defendants are liable under

Conn. Gen. Stat. § 22a-471 for all expenses of providing potable drinking water in response to

polluted groundwater, including interest on those costs and attorney’s fees.

                                        COUNT IX
               (Conn. Gen. Stat. § 42-110b – UNFAIR TRADE PRACTICES)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count IX as if fully set forth herein.

   296.    Defendants’ unfair acts and practices were in contravention of Connecticut’s public

policy, including but not limited to the policy set forth in Conn. Gen. Stat. § 22a-1, which states

that “the policy of the state of Connecticut is to conserve, improve and protect its natural

resources and environment and to control air, land, and water pollution in order to enhance the

health, safety and welfare of the people of the state.”

   297.    Furthermore, Defendants’ unfair acts and practices were in contravention of the

State’s public policy set forth in Conn. Gen. Stat. § 22a-15, which states “that there is a public

trust in the air, water and other natural resources of the state of Connecticut and that each person

is entitled to the protection, preservation and enhancement of the same.”




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   298.    Furthermore, Defendants’ unfair acts and practices were in contravention of the

State’s public policy set forth in Conn. Gen. Stat. § 23-5a, which states that “carefully selected

areas of land and water of outstanding scientific, educational, biological, geological,

paleontological or scenic value be preserved.”

   299.    Furthermore, Defendants’ unfair acts and practices were in contravention of the

State’s public policy, including but not limited to, as set forth in Conn. Gen. Stat. §§ 22a-16,

22a-427, 22a-430, 22a-451, and 22a-471.

   300.    Defendants’ unfair acts and practices – including, but not limited to, the following –

were immoral, unethical, oppressive, and/or unscrupulous:

           a.      deceiving and concealing material information from Connecticut consumers

                   about the health, safety, economic, and environmental effects of using PFAS

                   Products; and

           b.      undermining and delaying the adoption of alternative products, driven by

                   informed consumer choice, which could have avoided the most devastating

                   effects of PFAS.

   301.    Defendants’ unfair acts and practices have directly and proximately caused

substantial injury to consumers within the State of Connecticut by causing harmful pollutants to

contaminate the lands, waters, and other natural resources of the State.

   302.    The substantial injury to consumers by Defendants’ unfair acts and practices is not

outweighed by any countervailing benefits, but rather resulted in the stifling of an open

marketplace for alternative products, thereby leaving consumers unable to reasonably avoid the

detrimental consequences of using PFAS Products.




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   303.    Defendants’ deceptive acts and concealment of material information about their

business practices and their environmental impact constitute an unfair trade practice in violation

of Conn. Gen. Stat. § 42-110b.

                                         COUNT X
          (Conn. Gen. Stat. § 42-110o – WILLFUL UNFAIR TRADE PRACTICES)

   1-303. Paragraphs 1 through 303 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 303 of this Count X as if fully set forth herein.

   304.    Defendants engaged in the acts and practices alleged herein when they knew or

should have known that their conduct was unfair, in violation of Conn. Gen. Stat. § 42-110b(a)

and, therefore, are liable for civil penalties of up to $5,000 per willful violation pursuant to Conn.

Gen. Stat. § 42-110o(b).

                                        COUNT XI
 (Conn. Gen. Stat. § 52-552e(a)(1) – Actual Fraudulent Transfer Related to the Chemours
                                         Spin-off)
                             (Against the DuPont Defendants)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XI as if fully set forth herein.

   296.    Under Conn. Gen. Stat. § 52-552e(a)(1), a transaction is fraudulent if made by a

debtor with “actual intent to hinder, delay, or defraud any creditor of the debtor.”

   297.    The actual intent of the debtor may be determined by considering statutorily

enumerated badges of fraud, including, whether: (1) “[t]he transfer or obligation was to an

insider”; (2) “[t]he transfer or obligation was disclosed or concealed”; (3) “[b]efore the transfer

was made or obligation was incurred, the debtor had been sued or threatened with suit”; (4)

“[t]he value of the consideration received by the debtor was reasonably equivalent to the value of

the asset transferred or the amount of the obligation incurred”; (5) “[t]he debtor was insolvent or




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became insolvent shortly after the transfer was made or the obligation was incurred”; and (6)

“[t]he transfer occurred shortly before or after a substantial debt was incurred.”

   298.    Under Conn. Gen. Stat. § 52-552b, a “creditor” means “a person who has a claim.”

§52-552b(4). A “claim” is “a right to payment, whether or not the right is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

equitable, secured or unsecured.” §52-552b(3).

   299.    Where a transfer is found to have been fraudulent, a creditor may bring an action to:

(1) avoid the transfer as to the creditor’s claim; (2) to attach the creditor’s claim against assets

transferred or other property of the transferee; or (3) after obtaining judgment on a claim against

the debtor, and if the court orders, levy execution on the asset transferred or its proceeds.

   300.    The State is and was a creditor of Old DuPont at all relevant times. After the 2015

Chemours Spin-off, the State became a creditor of Chemours.

   301.    Old Dupont transferred the Performance Chemicals Business to Chemours in 2015

and executed the Chemours Spin-off with the intent to hinder, delay, or defraud creditors that

held claims related to environmental and human health damages from Old DuPont’s PFAS-

containing fluorochemical products.

   302.    During the Chemours Spin-off, Chemours assumed $4 billion of debt and significant

liabilities under the Separation Agreement, while simultaneously transferring valuable assets to

Old DuPont, including the $3.9 billion dividend.

   303.    Through the transfer of assets and liabilities as part of the Chemours Spin-off, Old

DuPont limited the availability of assets to cover its PFAS liabilities, to the detriment of existing

creditors, such as the State of Connecticut.




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   304.    The exchange of assets and liabilities in the Chemours Spin-off was made to benefit,

or for the benefit of, Old DuPont.

   305.    At the time of the Chemours Spin-off, Old DuPont was in a position to control, and

did control, Chemours.

   306.    Old DuPont and Chemours acted with the actual intent to hinder, delay, and defraud

creditors such as the State.

   307.    The actual fraudulent intent of the Defendants is evidenced by statutorily enumerated

badges of fraud present in the Chemours Spin-off. See Conn. Gen. Stat. § 52-552e(b).

   308.    At the time of the Chemours Spin-off, Old DuPont and Chemours were mutual

insiders. See Conn. Gen. Stat. § 52-552e(b)(1). The assumption of PFAS liabilities by Chemours,

the transfer of the dividend to Old DuPont, and the approval of the Chemours Spin-off occurred

while Chemours was under the control of Old Dupont, through its ownership and agents.

   309.    The Chemours Spin-off concealed the liabilities actually assumed by Chemours. See

Conn. Gen. Stat. § 52-552e(b)(3). Old DuPont and Chemours acted to conceal information about

the 2015 Spin-off, including withholding information from Chemours management designees,

withholding the schedules to the Chemours Separation Agreement from the public, and requiring

confidential mediation of all disputes related to the transaction, under terms that favored Old

DuPont.

   310.    The Chemours Spin-off occurred at a time when Old DuPont and the business line

that Chemours would come to own had been sued or threatened with suit related to

environmental liabilities. See Conn. Gen. Stat. § 52-552e(b)(4). By the 2015 Spin-off, Old

DuPont had been sued, threatened with suit, and had knowledge of the likelihood of future

litigation regarding Old DuPont’s liabilities for PFAS contamination.




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   311.    Chemours did not receive reasonably equivalent consideration in the Spin-off. See

Conn. Gen. Stat. § 52-552e(b)(8). Chemours received consideration which was not reasonably

equivalent to the actual obligations incurred by Chemours under the Separation Agreement and

the transfer of the dividend to Old Dupont.

   312.    Chemours was insolvent or became insolvent shortly after the Chemours Spin-off.

See Conn. Gen. Stat. § 52-552e(b)(9). The Connecticut Uniform Fraudulent Transfer Act

(UFTA) recognizes "[i]nsolvency" where the sum of the debtor's debts is greater than all of the

debtor's assets, at a fair valuation, or when a debtor is generally not paying debts as they become

due. See Conn. Gen. Stat. § 52-552c(a), (b). Chemours was balance-sheet insolvent at the time of

the Chemours Spin-off. Additionally, the trading prices for Chemours's debt reflect insolvency as

of the date the Chemours Spin-off closed and spiraled downhill in the immediate aftermath of the

Chemours Spin-off. Further, as a result of the Chemours Spin-off, Chemours could not pay its

debts as they became due.

   313.    The Chemours Spin-off occurred shortly before or shortly after a substantial debt was

incurred. See Conn. Gen. Stat. § 52-552e(b)(10). As part of the Chemours Spin-off, Chemours

incurred significant obligations, including the Chemours Assumed Environmental Liabilities (as

defined in the Chemours Separation Agreement) and the indemnification obligations under

Section 6.3 of the Chemours Separation Agreement. Additionally, Chemours incurred a $4

billion loan to transfer the dividend to Old DuPont.

   314.    The State has been harmed by this transaction, which was designed to shield assets

from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   315.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void the Chemours Spin-off

and to recover property or value transferred to Old DuPont.




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   316.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to Old Dupont and the incurrence of

obligations to Old DuPont in the Chemours Spin-off, or the proceeds of such assets now held by

New DuPont, New Dow, and Corteva, or other property of Old DuPont, New DuPont, New

Dow, and Corteva, and/or to hold the DuPont Defendants liable for any damages or other

remedies that may be awarded through this lawsuit.

   317.    Upon information and belief, New DuPont, New Dow, and Corteva have assumed

Old DuPont’s liability described above.

   318.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

initially transferred, including the dividend, to Old DuPont in the Chemours Spin-off, and later to

New DuPont, New Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and

Corteva knew or should have known of the fraudulent intent underlying the dividend, the

fraudulent intent underlying the Chemours Spin-off, and/or Chemours’s insolvency.

                                         Count XII
    (Conn. Gen. Stat. § 52-552e(a)(2) – Constructive Fraudulent Transfer Related to the
                                    Chemours Spin-off)
                             (Against the DuPont Defendants)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XII as if fully set forth herein.

   296.    Under UFTA’s constructive fraudulent transfer provisions, a transaction made by a

debtor is fraudulent as to a creditor if the debtor made the transfer:

   [W]ithout receiving a reasonably equivalent value in exchange for the transfer or
   obligation, and the debtor…was engaged or was about to engage in a business or a
   transaction for which the remaining assets of the debtor were unreasonably small in
   relation to the business or transaction; or…intended to incur, or believed or reasonably
   should have believed that [the debtor] would incur, debts beyond [the debtor’s] ability to



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   pay as they became due. Conn. Gen. Stat. § 52-552e(a)(2).

   297.    At all relevant times, the State is and was a creditor of Old DuPont. After the 2015

Spin-off, the State became a creditor of Chemours.

   298.    The exchange of assets and liabilities in the Chemours Spin-off was made to benefit,

or for the benefit of, Old DuPont.

   299.    At the time this transaction was made, Old DuPont was in a position to, and in fact

did, control and dominate Chemours.

   300.    Chemours did not receive reasonably equivalent value in return for the assumption of

Chemours Spin-off related obligations, including the transfer of the dividend. Old DuPont and

Chemours acted without providing a reasonably equivalent value in exchange for the transfer or

obligation, and Old DuPont believed or reasonably should have believed that Chemours would

incur debts beyond its ability to pay as they became due.

   301.    At the time of the Chemours Spin-off, Chemours was engaged or was about to engage

in a business for which its remaining assets were unreasonably small in relation to its business,

and/or intended to incur or believed or reasonably should have believed that it would incur debts

beyond its ability to pay as they became due.

   302.    At the time of the Chemours Spin-off, Old DuPont and the business line that

Chemours would come to own had been sued, threatened with suit, and/or had knowledge of the

likelihood of litigation to be filed regarding Old DuPont’s liability for damages and injuries from

Old DuPont’s design, manufacturing, marketing, distribution, and/or sale of PFAS Products and

other PFAS, including those damages and injuries caused by the business line that Chemours

would come to own.




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   303.    At the time of the Chemours Spin-off, and at all times relevant to this Complaint,

Chemours has been balance-sheet insolvent.

   304.    On information and belief, New DuPont, New Dow, and Corteva have assumed Old

DuPont’s liability described above.

   305.    The State has been harmed by this transaction, which was designed to shield assets

from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   306.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void the Chemours Transfers

and to recover property or value transferred to Old DuPont.

   307.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to Old Dupont and the incurrence of

obligations to Old DuPont in the Chemours Spin-off, or the proceeds of such assets now held by

New DuPont, New Dow, and Corteva, or other property of Old DuPont, New DuPont, New

Dow, and Corteva, and/or to hold the DuPont Defendants liable for any damages or other

remedies that may be awarded through this lawsuit.

   308.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

initially transferred, including the dividend, to Old DuPont in the Chemours Spin-off, and later to

New DuPont, New Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and

Corteva knew or should have known of the fraudulent intent underlying the dividend, the

fraudulent intent underlying the Chemours Spin-off, and/or Chemours’s insolvency.




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                                       COUNT XIII
     (Conn. Gen. Stat. § 52-552f(a) – Constructive Fraudulent Transfer Related to the
                                    Chemours Spin-off)
                             (Against the DuPont Defendants)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XIII as if fully set forth herein.

   296.    Under UFTA’s constructive fraudulent transfer provisions, a transaction made by a

debtor is fraudulent as to a creditor if the debtor made the transfer “without receiving a

reasonably equivalent value” and if “the debtor was insolvent at that time or the debtor became

insolvent as a result of the transfer or obligation.” Conn. Gen. Stat. §52-552f(a).

   297.    At all relevant times, the State is and was a creditor of Old DuPont. After the 2015

Spin-off, the State became a creditor of Chemours.

   298.    The exchange of assets and liabilities in the Chemours Spin-off was made to benefit,

or for the benefit of, Old DuPont.

   299.    At the time this transaction was made, Old DuPont was in a position to, and in fact

did, control and dominate Chemours.

   300.    Chemours did not receive reasonably equivalent value in return for the assumption of

Chemours Spin-off related obligations, including the transfer of the dividend.

   301.    Chemours was insolvent as a result of the Chemours Spin-off. Chemours was

balance-sheet insolvent at the time of the Chemours Spin-off. Additionally, debt trading prices

reflected insolvency as of the date the Chemours Spin-off closed and spiraled downhill in the

immediate aftermath of the Chemours Spin-off. Further, as a result of the Chemours Spin-off,

Chemours could not pay its debts as they became due.

   302.    On information and belief, New DuPont, New Dow, and Corteva have assumed Old

DuPont’s liability described above.



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   303.    The State has been harmed by this transaction, which was designed to shield assets

from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   304.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void the Chemours Transfers

and to recover property or value transferred to Old DuPont.

   305.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to Old Dupont and the incurrence of

obligations to Old DuPont in the Chemours Spin-off, or the proceeds of such assets now held by

New DuPont, New Dow, and Corteva, or other property of Old DuPont, New DuPont, New

Dow, and Corteva, and/or to hold the DuPont Defendants liable for any damages or other

remedies that may be awarded through this lawsuit.

   306.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

initially transferred, including the dividend, to Old DuPont in the Chemours Spin-off, and later to

New DuPont, New Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and

Corteva knew or should have known of the fraudulent intent underlying the dividend, the

fraudulent intent underlying the Chemours Spin-off, and/or Chemours’s insolvency.

                                       COUNT XIV
(Conn. Gen. Stat. § 52-552e(a)(1) – Actual Fraudulent Transfer Related to the DowDuPont
                         Merger and the DowDuPont Separation)
              (Against Old DuPont, New DuPont, New Dow, and Corteva)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XIV as if fully set forth herein.

   296.    Under Conn. Gen. Stat. § 52-552e(a)(1), a transaction is fraudulent if made by a

debtor with “actual intent to hinder, delay, or defraud any creditor of the debtor.”




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   297.    The actual intent of the debtor may be determined by considering statutorily

enumerated badges of fraud, including, whether: (1) “[t]he transfer or obligation was to an

insider”; (2) “[t]he transfer or obligation was disclosed or concealed”; (3) “[b]efore the transfer

was made or obligation was incurred, the debtor had been sued or threatened with suit”; (4)

“[t]he value of the consideration received by the debtor was reasonably equivalent to the value of

the asset transferred or the amount of the obligation incurred”; (5) “[t]he debtor was insolvent or

became insolvent shortly after the transfer was made or the obligation was incurred”; and (6)

“[t]he transfer occurred shortly before or after a substantial debt was incurred.”

   298.    Under Conn. Gen. Stat. § 52-552b, a “creditor” means “a person who has a claim.”

§52-552b(4). A “claim” is “a right to payment, whether or not the right is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

equitable, secured or unsecured.” §52-552b(3).

   299.    Where a transfer is found to have been fraudulent, a creditor may bring an action to:

(1) avoid the transfer as to the creditor’s claim; (2) to attach the creditor’s claim against assets

transferred or other property of the transferee; or (3) after obtaining judgment on a claim against

the debtor, and if the court orders, levy execution on the asset transferred or its proceeds. The

Court may also appoint a receiver to take charge of the assets transferred or other property, issue

an injunction against further disposition of the assets, or provide such other relief as the

circumstances may require. See Conn. Gen. Stat. § 52-552h.

   300.    At all relevant times, the State is and was a creditor of Old DuPont and New DuPont.

   301.    Through its participation in the DowDuPont Merger and the DowDuPont Separation,

Old DuPont transferred valuable assets and business lines to New DuPont, New Dow, and

Corteva.




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   302.    The DowDuPont Merger and DowDuPont Separation were for the benefit of New

DuPont, New Dow, and/or Corteva and were made to the detriment of Old DuPont’s creditors.

   303.    The transactions resulted in Old DuPont transferring significant assets to New

DuPont, New Dow, and Corteva, totaling roughly $20 billion.

   304.    At the time the sales and transfers were made, New DuPont was in a position to

control, and did control, Old DuPont, New Dow, and Corteva.

   305.    At the time of these transactions, Old DuPont, New DuPont, New Dow, and Corteva

intended and expected Old DuPont to incur debts beyond its ability to pay as they became due or

should reasonably have expected that Old DuPont would incur debts beyond its ability to pay as

they became due.

   306.    Old DuPont, New DuPont, New Dow, and Corteva acted with the actual intent to

hinder, delay, and defraud current and future creditors of Old DuPont, including the State.

   307.    The actual fraudulent intent of the Defendants is evidenced by statutorily enumerated

badges of fraud present in the Separation Transfers. See Conn. Gen. Stat. § 52-552e(b).

   308.    In connection with the DowDuPont Separation, New DuPont divided up Old

DuPont’s assets and obligations among entities it controlled, namely New DuPont, New Dow,

and Corteva. See Conn. Gen. Stat. § 52-552e(b)(1). Upon information and belief, certain

obligations were assumed by New DuPont, New Dow, and Corteva, including Old DuPont’s

PFAS-related liabilities, as well as the indemnification obligations under Article VIII of the

DowDuPont Separation Agreement. The transfer of these obligations from Old DuPont to New

DuPont, then certain of them from New DuPont to New Dow and Corteva, occurred at a time

that New DuPont controlled New Dow and Corteva through New DuPont’s Board members,

New DuPont employees, and New DuPont agents. New DuPont was an insider of Old DuPont,




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New Dow, and Corteva, throughout the DowDuPont Separation. See Conn. Gen. Stat. § 52-

552b(1).

   309.    The DowDuPont Separation concealed the liabilities actually assumed by New

DuPont, New Dow, and Corteva. See Conn. Gen. Stat. § 52-552e(b)(3). The true scope of the

obligations that were to be assumed by New DuPont, New Dow, and Corteva in the DowDuPont

Separation Agreement were concealed and the schedules to the DowDuPont Separation

Agreement were not publicly filed.

   310.    The DowDuPont Separation occurred at a time when Old DuPont and New DuPont

had been sued or threatened with suit related to environmental liabilities. See Conn. Gen. Stat. §

52-552e(b)(4). Prior to and throughout the DowDuPont Separation, Old DuPont and New

DuPont had been sued, had been threatened with suit, and had knowledge of the likelihood of

future litigation regarding Old DuPont’s and New DuPont’s liabilities for PFAS contamination.

   311.    Old DuPont did not receive consideration from New DuPont, New Dow, and Corteva

reasonably equivalent to the value of the assets exchanged. See Conn. Gen. Stat. § 52-552e(b)(8).

After the transactions, Old DuPont was left with assets that Old DuPont, New DuPont, New

Dow, and Corteva knew were insufficient to pay its extensive environmental liabilities, including

the State’s claims.

   312.    Old DuPont was insolvent or became insolvent shortly after the DowDuPont

Separation. See Conn. Gen. Stat. § 52-552e(b)(9). UFTA recognizes "[i]nsolvency" where the

sum of the debtor's debts is greater than all of the debtor's assets at a fair valuation. See Conn.

Gen. Stat. § 52-552c(a). Old DuPont was balance-sheet insolvent at the time of the DowDuPont

Separation.




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   313.    Finally, the DowDuPont Separation occurred shortly before or shortly after a

substantial debt was incurred. See Conn. Gen. Stat. § 52-552e(b)(10). As part of the DowDuPont

Separation, Old DuPont incurred $4 billion in indebtedness to Corteva.

   314.    The State has been harmed by these transactions, which were designed to shield

assets from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   315.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void these transactions and to

recover property or value transferred from Old DuPont to New DuPont, New Dow, and Corteva.

   316.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to New DuPont, New Dow, and Corteva

and the incurrence of obligations to New DuPont, New Dow, and Corteva in the DowDuPont

Merger and DowDuPont Separation, or the proceeds of such assets now held by New DuPont,

New Dow, and Corteva, or other property of Old DuPont, New DuPont, New Dow, and Corteva,

and/or to hold Old DuPont, New DuPont, New Dow, and Corteva liable for any damages or

other remedies that may be awarded through this lawsuit.

   317.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

transferred through the DowDuPont Merger and DowDuPont Separation to New DuPont, New

Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and Corteva knew or

should have known of the fraudulent intent underlying the DowDuPont Merger and DowDuPont

Separation and/or the insolvency of Old DuPont.




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                                        COUNT XV
    (Conn. Gen. Stat. § 52-552e(a)(2) – Constructive Fraudulent Transfer Related to the
                  DowDuPont Merger and the DowDuPont Separation)
               (Against Old DuPont, New DuPont, New Dow, and Corteva)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XV as if fully set forth herein.

   296.     Under UFTA’s constructive fraudulent transfer provisions, a transaction made by a

debtor is fraudulent as to a creditor if the debtor made the transfer:

   [W]ithout receiving a reasonably equivalent value in exchange for the transfer or
   obligation, and the debtor…was engaged or was about to engage in a business or a
   transaction for which the remaining assets of the debtor were unreasonably small in
   relation to the business or transaction; or…intended to incur, or believed or reasonably
   should have believed that [the debtor] would incur, debts beyond [the debtor’s] ability to
   pay as they became due. Conn. Gen. Stat. § 52-552e(a)(2).

   297.     At all relevant times, the State is and was a creditor of Old DuPont and New DuPont.

   298.     The exchange of assets and liabilities in the DowDuPont Separation were made to

benefit, or for the benefit of, New DuPont, New Dow, and/or Corteva.

   299.     At the time these transactions were made, New DuPont was in a position to control,

and did control, Old DuPont, New Dow, and Corteva.

   300.     Old DuPont did not receive consideration from New DuPont, New Dow, and Corteva

reasonably equivalent to the value of the assets exchanged. After the transactions, Old DuPont

was left with assets that Old DuPont, New DuPont, New Dow, and Corteva knew or should have

known were insufficient to pay its extensive environmental liabilities, including the State’s

claims.

   301.     At the time of the DowDuPont Separation, Old DuPont was engaged or was about to

engage in a business for which its remaining assets were unreasonably small in relation to its

business.




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   302.    At the time of the DowDuPont Separation, Old DuPont, New DuPont, New Dow, and

Corteva believed or reasonably should have believed that Old DuPont would incur debts beyond

its ability to pay as they became due.

   303.    At the time of the DowDuPont Separation, Old DuPont and New DuPont had been

sued, threatened with suit, and had knowledge of the likelihood of litigation to be filed regarding

Old DuPont’s and New DuPont’s liability for damages and injuries from Old DuPont’s design,

manufacturing, marketing, distribution, and sale of PFAS Products.

   304.    At the time of the DowDuPont Separation, and at all times relevant to this Complaint,

Old DuPont has been insolvent because its debts were greater than the fair valuation of its assets.

   305.    The State has been harmed by these transactions, which were designed to shield

assets from creditors, such as the State, that have been damaged by Old DuPont’s conduct.

   306.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void these transactions and to

recover property or value transferred from Old DuPont to New DuPont, New Dow, and Corteva.

   307.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to New DuPont, New Dow, and Corteva

and the incurrence of obligations to New DuPont, New Dow, and Corteva in the DowDuPont

Merger and DowDuPont Separation, or the proceeds of such assets now held by New DuPont,

New Dow, and Corteva, or other property of Old DuPont, New DuPont, New Dow, and Corteva,

and/or to hold Old DuPont, New DuPont, New Dow, and Corteva liable for any damages or

other remedies that may be awarded through this lawsuit.

   308.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

transferred through the DowDuPont Merger and DowDuPont Separation to New DuPont, New




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Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and Corteva knew or

should have known of the fraudulent intent underlying the DowDuPont Merger and DowDuPont

Separation and/or the insolvency of Old DuPont.

                                       COUNT XVI
     (Conn. Gen. Stat. § 52-552f(a) – Constructive Fraudulent Transfer Related to the
                  DowDuPont Merger and the DowDuPont Separation)
              (Against Old DuPont, New DuPont, New Dow, and Corteva)

   1-295. Paragraphs 1 through 295 of the Complaint are hereby repeated and realleged as

   Paragraphs 1 through 295 of this Count XVI as if fully set forth herein.

   296.    Under UFTA’s constructive fraudulent transfer provisions, a transaction made by a

debtor is fraudulent as to a creditor if the debtor made the transfer “without receiving a

reasonably equivalent value” and if “the debtor was insolvent at that time or the debtor became

insolvent as a result of the transfer or obligation.” Conn. Gen. Stat. §52-552f(a).

   297.    At all relevant times, the State is and was a creditor of Old DuPont and New DuPont.

   298.    The exchange of assets and liabilities in the DowDuPont Separation was made to

benefit, or for the benefit of, New DuPont, New Dow, and/or Corteva.

   299.    At the time these transactions were made, New DuPont was in a position to control,

and did control, Old DuPont, New Dow, and Corteva.

   300.    Old DuPont did not receive consideration from New DuPont, New Dow, and Corteva

reasonably equivalent to the value of the assets exchanged.

   301.    Old DuPont was insolvent as a result of the DowDuPont Separation. Old DuPont was

balance-sheet insolvent at the time of the DowDuPont Separation. Further, as a result of the

DowDuPont Separation, Old DuPont could not pay its debts as they became due.

   302.    The State has been harmed by this transaction, which was designed to shield assets

from creditors, such as the State, that have been damaged by Old DuPont’s conduct.



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   303.    Under Conn. Gen. Stat. § 52-552, the State is entitled to void these transactions and to

recover property or value transferred from Old DuPont to New DuPont, New Dow, and Corteva.

   304.    Pursuant to Conn. Gen. Stat. § 52-552h(a)(2), the State also seeks, to the extent

necessary to satisfy the State’s claims in this Complaint, the attachment or other provisional

remedy (including levy) against the assets transferred to New DuPont, New Dow, and Corteva

and the incurrence of obligations to New DuPont, New Dow, and Corteva in the DowDuPont

Merger and DowDuPont Separation, or the proceeds of such assets now held by New DuPont,

New Dow, and Corteva, or other property of Old DuPont, New DuPont, New Dow, and Corteva,

and/or to hold Old DuPont, New DuPont, New Dow, and Corteva liable for any damages or

other remedies that may be awarded through this lawsuit.

   305.    New DuPont, New Dow, and Corteva are not good-faith transferees of the assets

transferred through the DowDuPont Merger and DowDuPont Separation to New DuPont, New

Dow, and Corteva because each of Old DuPont, New DuPont, New Dow, and Corteva knew or

should have known of the fraudulent intent underlying the DowDuPont Merger and DowDuPont

Separation and/or the insolvency of Old DuPont.




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PRAYER FOR RELIEF

WHEREFORE, in accordance with applicable law, including but not limited to Conn. Gen. Stat.

§§ 22a-16, 22a-438, 22a-451, 22a-471, 42-110m, 42-110o, and 52-552h, the State of Connecticut

requests the following relief:

   1. Injunctive relief to address past, present, and future PFAS pollution, including, without

       limitation:

           a. an order compelling Defendants to abate all PFAS pollution in the State of

               Connecticut;

           b. an order compelling Defendants to implement a program of public outreach with

               information about the harms of PFAS, the status of investigation and remediation

               activities, and resources available to assist with abatement and remediation;

           c. an order compelling Defendants to implement a program of information sharing

               with local and state government agencies concerning investigation and

               remediation activities; and

           d. an order compelling Defendants to disclose all research and studies in their

               possession, including such research and studies previously conducted directly or

               indirectly by them, their respective agents, affiliates, servants, officers, directors,

               employees, and all persons acting in concert with them, that relates to the human

               health and environmental effects of PFAS;

   2. Compensatory damages arising from PFAS pollution of State natural resources and

       property, including surface waters, groundwaters, public and private drinking water

       supply wells, soils and sediments, biota, wildlife including fish, and all other public trust

       resources and State property, according to proof, including, without limitation:




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       a. past and future costs of investigation, testing, and monitoring;

       b. past and future costs of providing water from alternate sources;

       c. past and future costs of installing and maintaining wellhead treatment;

       d. past and future costs of installing and maintaining a wellhead protection program;

       e. past and future costs of installing and maintaining early warning systems to detect

           PFAS before it reaches wells;

       f. past and future costs of implementing biomonitoring programs;

       g. past and future costs of remediating PFAS from natural resources, including

           groundwater, surface waters, soils, sediments, and other natural resources;

       h. past and future costs of implementing educational outreach in communities where

           natural resources have become contaminated with PFAS;

       i. past and future costs of collecting, replacing, and safely disposing of PFAS;

       j. past and future costs of remediating PFAS contamination at release sites; and

       k. natural resource damages;

3. An order compelling Defendants to pay all other damages sustained by the State in its

   public trustee, parens patriae, and regulatory capacities as a direct and proximate result

   of Defendants’ acts and omissions alleged herein with respect to PFAS Products;

4. Any and all temporary and permanent equitable relief and such conditions upon

   Defendants as are needed to prevent further pollution, impairment, and destruction of the

   natural resources and property of Connecticut;

5. A finding that by the acts alleged herein, Defendants have unreasonably polluted,

   impaired, and destroyed public trust resources in the State of Connecticut in violation of

   the Connecticut Environmental Protection Act, Conn. Gen. Stat. § 22a-16;




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6. Equitable relief pursuant to Conn. Gen. Stat. § 22a-16a for past, present, and future

   pollution, impairment, and/or destruction of public trust resources;

7. An order pursuant to Conn. Gen. Stat. § 22a-438 directing Defendants to pay a civil

   penalty of $25,000 per day per violation of Conn. Gen. Stat. § 22a-430;

8. An order pursuant to Conn. Gen. Stat. § 22a-438 directing Defendants to pay a civil

   penalty of $25,000 per day per violation of Conn. Gen. Stat. § 22a-427;

9. An order pursuant to Conn. Gen. Stat. § 22a-451 directing Defendants to pay the State

   two times the costs and expenses incurred in responding to PFAS water pollution;

10. An order pursuant to Conn. Gen. Stat. § 22a-471 directing Defendants to pay the State for

   all expenses incurred in providing potable drinking water in response to groundwater

   pollution;

11. A finding that by the acts alleged herein, Defendants engaged in unfair acts and practices

   in the course of engaging in trade or commerce within the State of Connecticut in

   violation of the Connecticut Unfair Trade Practices Act;

12. An injunction pursuant to Conn. Gen. Stat. § 42-110m permanently enjoining Defendants

   from engaging in any acts that violate the Connecticut Unfair Trade Practices Act,

   including, but not limited to, the unfair acts and practices alleged herein;

13. An order pursuant to Conn. Gen. Stat. § 42-110o directing Defendants to pay a civil

   penalty of $5,000 for each and every willful violation of the Connecticut Unfair Trade

   Practices Act;

14. An order for equitable relief pursuant to Conn. Gen. Stat. § 42-110m for past and ongoing

   unfair acts and practices associated with PFAS, including but not limited to relief for

   remediation and mitigation;




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15. An order for any and all other equitable relief authorized under Conn. Gen. Stat. § 42-

   110m, including but not limited to restitution and disgorgement, that is appropriate to

   rectify the unlawful behavior complained of herein;

16. An order voiding the fraudulent transfers of assets among the DuPont Defendants and

   recovering the property or value fraudulently transferred among these Defendants to put

   the State in the position in which it would have been had these fraudulent transfers not

   occurred;

17. An order enjoining the DuPont Defendants from distributing, transferring, capitalizing, or

   otherwise disposing of any proceeds from the sale of any business lines, segments,

   divisions, or other assets that formerly belonged to Old DuPont and/or impose a

   constructive trust over any proceeds from the sale of Old DuPont assets for the benefit of

   the State;

18. Costs (including reasonable attorney fees, court costs, and other expenses of litigation);

19. Punitive damages;

20. Prejudgment interest; and

21. Such other relief as the Court may deem just and equitable.




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                                 PLAINTIFF
                                 STATE OF CONNECTICUT




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RETURN DATE: MARCH 5, 2024                           SUPERIOR COURT

STATE OF CONNECTICUT                                 JUDICIAL DISTRICT
                                                     OF HARTFORD
V.

EIDP, INC.; DUPONT DE NEMOURS,                       AT HARTFORD
INC.; THE CHEMOURS COMPANY; THE
CHEM OURS COMP ANY FC, LLC;
CORTEVA, INC.; and 3M COMPANY                        JANUARY 23, 2024


                          STATEMENT OF AMOUNT IN DEMAND
        The Plaintiff states that the amount in demand is greater than Fifteen Thousand Dollars

($15,000), exclusive of interest and costs.


                                                 PLAINTIFF
                                                 STATE OF CONNECTICUT

                                                                       >
                                          By:    --ta
                                                 WILLIAM M. TokG-::-
                                                 Juris No. 440323
                                                 Attorney General
                                                 MATTHEW I. LEVINE
                                                 Juris No. 414845
                                                 Deputy Associate Attorney General
                                                 CHRISTOPHER PATRICK KELLY
                                                 Juris No. 444375
                                                 Assistant Attorney General
                                                 MICHAEL W. LYNCH
                                                 Juris No. 435586
                                                 Assistant Attorney General
                                                 JULIAR. SUESSER
                                                 Juris No. 445210
                                                 Special Assistant Attorney General
                                                 Office of the Attorney General
                                                 165 Capitol Avenue
                                                 Hartford, CT 06106
                                                 Tel: (860) 808-5250
                                                 Fax: (860) 808-5386
                                                 christopher.kelly@ct.gov



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CIVIL SUMMONS                                                       STATE OF CONNECTICUT
CONTINUATION OF PARTIES                                                SUPERIOR COURT
JD-CV-2     Rev. 9-12

First named Plaintiff (Last, First, Middle Initial)

State of Connecticut
First named Defendant (Last, First, Middle Initial)

EIDP, Inc.
Additional Plaintiffs
Name (Last, First, Middle Initial, if individual)                            Address (Number, Street, Town and Zip Code)                                COOE

                                                                                                                                                         03

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Additional Defendants
Name (Last, First, Middle Initial, if individual)                            Address (Number, Street, Town and Zip Code)                                CODE

The Chemours Company FC, LLC                                               1007 Market Street, Wilmington, DE 19801                                      05
                                                      Agent for Service: CT Corporation System, 67 Burnside Ave, East Hartford, CT 06108                 06
DuPont de Nemours, Inc.                                                     974 Centre Road, Wilmington, DE 18805                                        07
                                                      Agent for Service: Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801              08

Corteva, Inc.                                                               974 Centre Road, Wilmington, DE 18805                                        09
                                                      Agent for Service: CT Corporation System, 67 Burnside Ave, East Hartford, CT 06108                 10

 3M Company                                                                3M Center, Saint Paul, MN 55144                                               11
                                                                                                                             FOR COURT USE ONLY - File Date
                                                      Agent for Service: Corporation Service Company, 225
                                                      Asylum Street, 20th Floor, Hartford, CT 06103                    12



                                                                                                                       13



                                                                                                                       14   Docket number



                                                                                                                              CIVIL SUMMONS-Continuation
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STATE OF CONN ECTICUT}
                     } SS: GLASTONBURY,                       JANUARY 23, 2024
COUNTY OF HARTFORD }

    Then and by virtue hereof, on the 23" day of January, 2024, I made due and legal
service on the within named Defendant, EIDP, INC., by depositing at the Post Office in
Glastonbury, postage paid and certified, return receipt requested, a verified true and
attested copy of the within original, Summons, Complaint, and Statement of Amount
In Demand, with my doings thereon endorsed, addressed to the within named Defendant,
EIDP, Inc. C/O The Secretary, 974 Centre Road, Wilmington, DE 19805.

     Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, THE CHEM OURS COMP ANY, by depositing at the Post Office in
Glastonbury, postage paid and certified, return receipt requested, a verified true and
attested copy of the within original, Summons, Complaint, and Statement of Amount
In Demand, with my doings thereon endorsed, addressed to the within named Defendant,
The Chemours Company, C/O The Secretary, 1007 Market Street, Wilmington, DE
19801.

    Also, on the 23" day of January, 2024, I made due and legal service on the within
named Defendant, THE CHEM OURS COMP ANY FC, LLC, by depositing at the Post
Office in Glastonbury, postage paid and certified, return receipt requested, a verified true
and attested copy of the within original, Summons, Complaint, and Statement of
Amount In Demand, with my doings thereon endorsed, addressed to the within named
Defendant, The Chemours Company FC, LLC, C/O The Secretary, 1007 Market
Street, Wilmington, DE 19801.

     Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, DUPONT DE NEMOURS, INC., by depositing at the Post Office in
Glastonbury, postage paid and certified, return receipt requested, a verified true and
attested copy of the within original, Summons, Complaint, and Statement of Amount
In Demand, with my doings thereon endorsed, addressed to the within named Defendant,
DuPont De Nemours, Inc, C/O The Secretary, 974 Centre Road, Wilmington, DE
19805.

     Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, DUPONT DE NEMOURS, INC., by depositing at the Post Office in
Glastonbury, postage paid and certified, return receipt requested, a verified true and
attested copy of the within original, Summons, Complaint, and Statement of Amount
In Demand, with my doings thereon endorsed, addressed to the within named Defendant,
DuPont De Nemours, Inc, C/O The Corporation Trust Company, Corporation
Trust Center, 1209 Orange Street, Wilmington, DE 19801.

    Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, CORTEVA, INC., by depositing at the Post Office in Glastonbury,
postage paid and certified, return receipt requested, a verified true and attested copy of
the within original, Summons, Complaint, and Statement of Amount In Demand,
with my doings thereon endorsed, addressed to the within named Defendant, Corteva,
Inc, C/O The Secretary, 974 Centre Road, Wilmington, DE 19805.
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   Also, on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, 3M COMPANY, by depositing at the Post Office in Glastonbury,
postage paid and certified, return receipt requested, a verified true and attested copy of
the within original, Summons, Complaint, and Statement of Amount In Demand,
with my doings thereon endorsed, addressed to the within named Defendant, 3M
Company, C/O The Secretary, 3M Center, Saint Paul, MN 55144.

    Afterwards on the 23" day of January, 2024, I made due and legal service on the
within named Defendant, EIDP, INC., by leaving a verified true and attested copy of the
within Summons, Complaint, and Statement of Amount in Demand, with and in the
hands of Gary Scappini, duly authorized to accept service for CT Corporation System,
Agent For Service for said Defendant, at 67 Burnside Avenue, in the Town of East
Hartford.

     Also on the 23"° day of January, 2024, I made due and legal service on the within
named Defendant, THE CHEM OURS COMP ANY, by leaving a verified true and
attested copy of the within Summons, Complaint, and Statement of Amount in
Demand, with and in the hands of Gary Scappini, duly authorized to accept service for
CT Corporation System, Agent For Service for said Defendant, at 67 Burnside Avenue,
in the Town of East Hartford.

     Also on the 23" day of January, 2024, I made due and legal service on the within
named Defendant, THE CHEM OURS COMP ANY FC, LLC, by leaving a verified true
and attested copy of the within Summons, Complaint, and Statement of Amount in
Demand, with and in the hands of Gary Scappini, duly authorized to accept service for
CT Corporation System, Agent For Service for said Defendant, at 67 Burnside Avenue,
in the Town of East Hartford.

    Also on the 23" day of January, 2024, I made due and legal service on the within
named Defendant, CORTEVA, INC., by leaving a verified true and attested copy of the
within Summons, Complaint, and Statement of Amount in Demand, with and in the
hands of Gary Scappini, duly authorized to accept service for CT Corporation System,
Agent For Service for said Defendant, at 67 Burnside Avenue, in the Town of East
Hartford.

    Afterwards on the 23"° day of January, 2024, I made due and legal service on the
within named Defendant, 3M COMP ANY, I left a verified true and attested copy of the
within original Summons, Complaint, and Statement of Amount in Demand, with and
in the hands of Shelley Kurpaska, duly authorized to accept for Corporation Service
Company, Agent For Service for said Defendant, at 225 Asylum Street, 20th Floor, in the
City of Hartford.
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                   SUPPLEMENT AL RETURN TO FOLLOW




   The within is the original Summons, Complaint, and Statement of Amount in
Demand, with my doings hereon endorsed.


FEES:

Pages       $ 900.00
Endorsements 18.50                            .CX J. RODRIGUEZ
Service       330.00                          STATE MARS
Travel         12.00                          HARTFORD COUNTY
Postage        66.00

Total      $ 1326.50
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APPEARANCE                                                                                                                        STATE OF CONNECTICUT
JD-CL-12 Rev. 12-21
P.B. §§ 3-1 through 3-12, 10-13, 25-6A, 25a-2, 25a-3
                                                                                                                                         SUPERIOR COURT
                                                                                                                                                     www.jud.ct.gov


                                                                                                                                  Return date (For Civil/Family cases)
                                                                                                                                  Mar-05-2024
     I am filing this appearance to let the court and all attorneys and self-represented                                          Docket Number
     parties of record know that I have changed my address. My new address is below.
                                                                                                                                  HHD-CV-XX-XXXXXXX-S
Name of case (Full name of first Plaintiff v. Full name of first Defendant) Note: In Criminal/Motor Vehicles cases, the Plaintiff is The State of Connecticut
STATE OF CONNECTICUT v. EIDP, INC. Et Al
             ✖                         Address of court (Number, street, town and zip code)                                 Scheduled court date (Criminal/Motor Vehicle cases only)
Housing Judicial Geographic
Session District   Area                95 WASHINGTON STREET HARTFORD, CT 06106
Enter the Appearance of
Name (Your name or name of official, firm, professional corporation, or individual attorney)                                                   Juris number (For attorney/law firm)
JULIA ROSE SUESSER                                                                                                                              445210
Mailing address                                                                                                 Post Office box number         Telephone number (Area code first)
AG-ENVIRONMENT 165 CAPITOL AVE 5TH FLR                                                                                                          860-808-5250
City/town                                     State      Zip code               Fax number                      E-mail address
HARTFORD                                       CT        06106                                                   julia.suesser@ct.gov
in the case named above for: (Select one of the following parties)
PLAINTIFF                                                                                      DEFENDANT
                  ✖    The Plaintiff.                                                                                  The Defendant.
                       All Plaintiffs.                                                                                 All Defendants.
                       The following Plaintiff(s) only:                                                                The following Defendant(s) only:


            Other (Specify):

     This is a Family Matters case (such as divorce, custody, or child support). My appearance is for: (Select one or both)
         matters in the Family Division of the Superior Court         Title IV-D Child Support matters

     This is a Criminal/Motor Vehicle case, and I am filing this appearance as    a Public Defender or                                                     Assigned Counsel
     This appearance is for the purpose of a bail hearing only.                                                                                            (Special Public Defender)
     This appearance is for the purpose of alternative arraignment proceedings only.

If an appearance by other counsel or self-represented party is on file for this party/parties, select one option below:
1.        This appearance is in place of the appearance of:
                                                                                    Name and Juris Number (if applicable) to be replaced
2.   ✖    This appearance is in addition to an appearance already on file.

I agree that documents can be delivered (served) to me electronically in this case. (Practice Book Sec. 10-13)                                             ✖   Yes            No
Signed (Individual attorney or self-represented party)                         Name of person signing at left (Print or type)                            Date signed
445210                                                                         JULIA ROSE SUESSER                                                        Feb 05 2024
Certification                                                                                                                                     FOR COURT USE ONLY
I certify that a copy of this document was or will immediately be mailed or delivered electronically or
non-electronically on (date)       Feb 05 2024     to all attorneys and self-represented parties of
record and that written consent for electronic delivery was received from all attorneys and self-
represented parties of record who received or will immediately be receiving electronic delivery.
Name and address of each party and attorney that copy was or will be mailed or delivered to*

CHRISTOPHER KELLY - AG-ENVIRONMENT/165 CAPITOL AVE 5TH FLR/HARTFORD, CT 06106




*If necessary, attach additional sheet or sheets with name and address which the copy was or will be mailed or delivered to.
Signed (Signature of filer)                               Print or type name of person signing                      Date signed
         445210                                           JULIA ROSE SUESSER                                         Feb 05 2024
